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                            EXHIBIT 2
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                     EXPERT REPORT OF MARY DIGIORGI, MPH, PhD

 I.     QUALIFICATIONS

         Mary DiGiorgi is the Vice President, Medical Sciences at Pacira Biosciences. Having
 been at Pacira for the past five years, Dr. DiGiorgi works closely with the clinical development
 and medical affairs teams and leads health outcomes research, medical information /
 communications, and publication teams and acts as lead for the Grants Committee. Prior to
 joining Pacira, Dr. DiGiorgi was a Clinical Research Director and Assistant Professor in the
 Department of Surgery at Columbia University Medical Center, and the Associate Director and
 teaching faculty at the Institute of Human Nutrition where she developed a health professional
 program and taught and developed both courses in both medical science and clinical research
 methodology. Dr DiGiorgi received her degrees from Columbia University: a BA from Barnard
 College, an MPH in epidemiology from the Mailman School of Public Health and an MS in
 Human Nutrition and PhD in nutritional epidemiology from the Graduate School of Arts and
 Sciences. My CV is attached as Exhibit A.

 II.    SUMMARY OF OPINIONS

        A.      Liposomal bupivacaine (LB) is effective at providing long-lasting pain relief. No
                other local anesthetic can provide extended-duration analgesia. Bupivacaine and
                other plain local anesthetics can only provide long-lasting pain relief if combined
                with other analgesics or if given to the patient through continuous infiltration via
                catheter.

                1.     The strong majority of studies, especially those that evaluate LB directly
                       against an alternative local anesthetic in a head-to-head study, prove that
                       LB provides longer-lasting and more effective pain reduction than
                       alternative local anesthetics.

                2.     Although some studies of LB provide mixed or inconclusive results, this is
                       not surprising and is typical of any pain medication for three reasons.
                       First, pain is subjective and, therefore, notoriously challenging to measure
                       accurately. Second, patients are provided additional analgesics beyond the
                       test drugs as needed for postsurgical pain, which masks the difference in
                       effect between the test and comparator drug. And third, patients who are
                       recovering well are often discharged early, before the trial period has
                       expired, which can skew the results as data is then only collected from
                       those remaining at the end, who tend to be differently situated due to
                       factors often related to pain which can affect recovery time.

                3.     Generally, only well-funded studies have the resources to conduct high-
                       quality studies, including collecting the data necessary to account for these
                       additional analgesics (and to perform “imputations” for that effect) and to
                       pay to keep patients in the hospital through the duration of the trial.
                       Results from studies that perform these imputations and minimize patient
                       attrition are far more informative that those that do not. With respect to

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                    LB, industry-sponsored studies are largely the only studies that
                    accomplished these feats because they have sufficient resources to do so,
                    while most independent studies generally do not.

             4.     Meta-analyses evaluating the effectiveness of analgesics also frequently
                    result in inconclusive results; this is also true of LB. This, too, is not
                    surprising and is not an indication that LB is not effective. Often the
                    studies are too different to be reliably combined and the data is too limited
                    to reach definitive conclusions. For example, because studies evaluating
                    postsurgical analgesia must be conducted among patients undergoing
                    similar surgeries and receiving similar analgesics, the number of test
                    subjects is naturally limited. It is also difficult to conduct a high-quality,
                    randomized controlled trial (“RCT”). The quality of a meta-analysis is
                    only as good as the studies included. Therefore a meta-analysis that
                    includes low-quality studies, and which ignores the clinical context in
                    which they were conducted, will inevitably yield inconclusive results. In
                    other words, “garbage in, garbage out.”

       B.    The Hussain et al. meta-analysis suffers from a bevy of methodological and
             compositional errors that render it materially false. Among other concerns, the
             nine underlying trials are all significantly different and do not lend themselves to
             comparison, nor do the authors recognize that for certain procedures, the research
             is clear that LB provides a material benefit over alternatives. The meta-analysis is
             also marred by substantial selection bias. The authors exclude multiple studies
             that fall within their eligibility criteria and are favorable to LB, and then they
             include two that do not meet their eligibility criteria. One of the studies cannot
             even be located through a public records search, which suggests that the authors
             went to great lengths to locate trials that were unfavorable to LB. Of those the
             authors did include, several of the trials focused on LB procedures that are
             unapproved and/or uncommon (and therefore not yet optimized). In the end, even
             with these flaws, the results only, at worst, demonstrate that the benefit of LB
             over alternatives is inconclusive, not that is “not superior” to those alternatives.

       C.    The Ilfeld et al. narrative review is also deeply flawed. It likewise groups and
             evaluates trials involving vastly different surgical procedures. It then provides
             superficial reasons to dismiss much of the research that is favorable to LB. For
             example, the authors state that industry-sponsored studies are inherently biased,
             when the Cochrane Collaboration—the primary authority in the field on this
             subject, whose framework the authors purport to follow—does not consider
             industry sponsorship inherently biasing. The Cochrane Collaboration recognizes
             that some of the most informative studies are industry-funded. While the authors
             are quick to dismiss trials that are favorable to LB, they ignore—or worse, cover
             up—the shortcomings of a number of trials that are unfavorable to LB on which
             they rely.

       D.    The McCann Editorial compounds these errors, doubling down on Hussain’s and
             Ilfeld’s faulty methodologies and wrongly rejecting studies that demonstrate

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                 liposomal bupivacaine’s superiority based on her ill-founded animus toward
                 industry-funded studies. She then concludes that LB’s success in the market is a
                 function of “aggressive” marketing by Pacira. However, that many of Pacira’s
                 patrons are repeat customers—primarily licensed physicians—is a testament to
                 the drug’s effectiveness, and that they continue to use LB in novel ways, beyond
                 the common or approved uses for which Pacira sells LB, cannot be a function of
                 Pacira’s marketing.

 III.    OVERVIEW OF LIPOSOMAL BUPIVACAINE

         Liposomal bupivacaine (LB) is the longest-acting local analgesic available, which acts
 directly on nerves near where it is administered to block pain signals and typically produces a
 numbing sensation at the skin level. In the context of surgery, it is injected near the site of
 surgery or directly around nerves that provide sensation to the surgical area, thereby removing or
 reducing pain in the area.

          Bupivacaine, the active ingredient in LB, is a local anesthetic that has been used for
 infiltration/field block and peripheral nerve block for decades around the world. LB is
 bupivacaine encapsulated in microscopic spherical multivesicular liposomes (DepoFoam®), a
 drug delivery system consisting of a honeycomb-like structure of lipid chambers, which
 gradually release bupivacaine over time at the site of administration as the lipid walls begin to
 erode. Liposomes are among the most successful drug delivery systems used for a variety of
 clinical uses, designed to enhance therapeutic efficacy and reduce toxicity of conventional
 medicines. 1 Bupivacaine by itself (i.e., not in the liposomal capsules) provides pain relief for up
 to eight hours, 2 and up to 12 hours when combined with epinephrine. 3 By utilizing a liposomal
 delivery system, LB has been shown to provide pain relief up to 72 hours. 4

          The FDA approved LB in October 2011 for local infiltration at the surgical site to
 produce postsurgical analgesia in adults. In December 2015, a communication from the U.S.
 Food and Drug Administration (FDA) reaffirmed the broad indication for local infiltration of LB,
 and confirmed that the indication also includes targeted tissue plane blocks (a variation of a local
 infiltration), e.g., transversus abdominis plane [TAP] block), in addition to traditional direct
 infiltration around the surgical site. In March 2021, this indication was extended to pediatrics for
 use in children age six and older. In April 2018, LB was approved for administration as an
 interscalene brachial plexus nerve block. In November 2020, the European Commission
 approved LB for use in local infiltration, field blocks, as well as brachial plexus block and
 femoral nerve block for treatment of postsurgical pain in adults. Since its approval, LB use has
 been growing exponentially, with an estimated 8 million patient exposures in the United States. 5


 1
   Bulbake U, Doppalapudi S, Kommineni N, Khan W. Liposomal formulations in clinical use: An updated review.
 Pharmaceutics. 2017; 9(2).
 2
   Baxter bupivacaine HCl monograph, https://www.baxter.ca/sites/g/files/ebysai1431/files/2019-
 06/Bupivacaine_Hydrochloride_Injection_USP_EN.pdf.
 3
   Bupivacaine HCl 0.5% with epinephrine monograph, https://pdf.hres.ca/dpd_pm/00016123.PDF.
 4
   EXPAREL prescribing information 2018 https://www.pacira.com/sites/default/files/inline-
 files/EXPAREL_PI_Nerve_Block_Final_4-6-2018.pdf.
 5
   Data on File. 6450. Parsippany, NJ: Pacira BioSciences, Inc.; January 2021.

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        Although LB can be used to manage postsurgical pain for a variety of surgical
 procedures, how effective it is over other pain relief medication is dependent on the procedure
 and the technique used by the anesthesiologist. LB is most valuable when used for procedures in
 which moderate to severe postsurgical pain is expected to last beyond 24 hours or require larger
 doses of opioids, or in patients at higher risk for opioid-related adverse drug events. LB is also
 more effective when all clinical team members are educated about infiltration technique and its
 appropriate use as part of a multimodal approach to manage postsurgical pain.

         Where moderate to severe pain is not expected to last beyond 24 hours, immediate
 release local anesthetics may be sufficient. However, when surgeries are likely to require
 treatment for pain for longer periods, a single dose of an immediate-release local anesthetic and
 other drugs used to help, such as opioids and anti-inflammatories, have limited duration and may
 have potential side effects. 6,7 Continuous catheter infusion of those anesthetics have been shown
 to provide prolonged pain control, but it is time- and resource-intensive, delivers high total doses
 of local anesthetics, is associated with risk of complications such as device failure and infection,
 and is subject to user error. 8,9 In contrast, a single administration of LB can provide prolonged
 pain control greater than 24 hours, while decreasing costs and the risk of complications that
 come with continuous infusion.

 IV.     LIPOSOMAL BUPIVACAINE PROVIDES A SAFE, EFFECTIVE, AND OPIOID-
         FREE ANALGESIC OPTION.

         LB is an effective method for prolonged postoperative pain management. It is the
 longest-acting local anesthetic that FDA has approved, and in so doing, the FDA noted that its
 efficacy lasts for days rather than hours. LB is also recommended by multiple professional
 societies, and the balance of studies about LB recognize the benefits it can offer over other forms
 of anesthetics and pain treatments used for extended postoperative treatment (i.e., pain expected
 to last more than 24 hours).

         Notably, nearly ten years ago, in October 2011 the FDA approved the use of liposomal
 bupivacaine. The FDA relied on data from three Phase III studies in approving LB. Two of the
 three were RCTs that were published in peer-review journals. 10, 11 Comparing LB to a placebo,
 the studies found pain scores improved, as well as postsurgical opioid use, time until first opioid


 6
   Pearson AME, Kaushal A, Crawford MW et al. Dexamethasone as an adjuvant to peripheral nerve block. Cochrane
 Database Syst. Rev. 2017 Nov; 2017(11).
 7
   Albrecht E, Kern C, Kirkham KR. A systematic review and meta-analysis of perineural dexamethasone for
 peripheral nerve blocks. Anaesthesia. 2015 Jan; 70(1):71-83.
 8
   Joshi G, Gandhi K, Shah N, Gadsden J, Corman SL. Peripheral nerve blocks in the management of postoperative
 pain: challenges and opportunities. J Clin Anesth 2016; 35: 502 524-29.
 9
   Capdevila X, Pirat P, Bringuier S, et al. Continuous peripheral nerve blocks in hospital wards after orthopedic
 surgery: a multicenter prospective analysis of the quality of postoperative analgesia and complications in 1,416
 patients. Anesthesiology. 2005 Nov; 103(5):1035-45.
 10
    Golf M, Daniels SE, Onel E. A phase 3, randomized, placebo-controlled trial of DepoFoam® bupivacaine
 (extended-release bupivacaine local analgesic) in bunionectomy. Advances in therapy. 2011; 28(9):776-88.
 11
    Gorfine SR, Onel E, Patou G, Krivokapic ZV. Bupivacaine extended-release liposome injection for prolonged
 postsurgical analgesia in patients undergoing hemorrhoidectomy: a multicenter, randomized, double-blind, placebo-
 controlled trial. Diseases of the colon and rectum. 2011; 54(12):1552-9.

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 use, and patient satisfaction. 12 These were multicenter, randomized, double-blind, placebo-
 controlled studies. The FDA then expanded approval of LB in 2018 to include interscalene
 brachial plexus nerve blocks, 13 and recently, in March 2021, expanded the approved use in local
 infiltration to include pediatrics based on additional RCTs. 14 Similarly, in 2018, the Centers for
 Medicare and Medicaid Services (CMS) reviewed studies of LB and other non-opioid pain
 treatments and, based on those studies, determined that it would pay separately for use of LB
 (sold as EXPAREL®) at ambulatory surgical centers, rather than as part of the bundled payment
 process, but not for any other non-opioid pain medication. CMS concluded that, unlike for LB, it
 “ha[s] not found compelling evidence for other non-opioid pain management drugs described
 above to warrant separate payment at this time.” 15

        Professional societies across multiple medical practice areas also recognize the benefit of
 LB and either recommend its use or recommend that its healthcare provider members be familiar
 with what LB can provide patients. These include, among others, the following
 recommendations in Table 1:

                Table 1. Liposomal Bupivacaine in Professional Society Guidelines

  Practice          Year Society                             Recommendation
  Area
  Anesthesiology    2016     American Pain Society           Recommendation for site-specific local anesthetic
                             (APS),                          infiltration for surgical procedures, noting that
                             American Society of             “clinicians should be knowledgeable regarding
                             Regional Anesthesia and         specific local anesthetic infiltration techniques,
                             Pain Medicine (ASRA), and       including the use of extended-release formulations
                             American Society of             of local anesthetics such as liposomal
                             Anesthesiologists (ASA)         bupivacaine.” 16
  Colorectal        2016     American Society of Colon       Strong recommendation for the use of a
  Surgery                    and Rectal Surgeons             perioperative multimodal, opioid-sparing, pain
                             (ASCRS),                        management plan, noting that liposomal bupivacaine
                             Society of American             wound infiltration and transversus abdominis plane
                             Gastrointestinal and            (TAP) blocks “have shown promising results in
                             Endoscopic Surgeons
                             (SAGES)



 12
    Food and Drug Administration (FDA). Guidance for Industry Analgesic Indications: Developing Drug and
 Biological Products. February 2014. Available at:
 https://www.fda.gov/downloads/drugs/guidancecomplianceregulatoryinformation/guidances/ucm384691.pdf
 13
    Patel MA, Gadsden JC, Nedeljkovic SS, Bao X, Zeballos JL, Yu V, et al. Brachial Plexus Block with Liposomal
 Bupivacaine for Shoulder Surgery Improves Analgesia and Reduces Opioid Consumption: Results from a
 Multicenter, Randomized, Double-Blind, Controlled Trial. Pain Med. 2020; 21(2):387-400.
 14
    Tirotta C, Jose de Armendi A, Horn ND, Hammer GB, Szczodry M, Matuszczak ME, et al. Play: A Phase 3 Study
 Of Pharmacokinetics And Safety Of Liposomal Bupivacaine For Pediatric Surgery. ASA - American Society of
 Anesthesiologists Annual Meeting; Washington, D.C. 2020.
 15
    Federal Register, Vol. 83, No. 225 at 59069 (Nov. 1, 2018).
 16
    Chou R, Gordon DB, de Leon-Casasola OA, Rosenberg JM, Bickler S, Brennan T, et al. Management of
 Postoperative Pain: A Clinical Practice Guideline From the American Pain Society, the American Society of
 Regional Anesthesia and Pain Medicine, and the American Society of Anesthesiologists’ Committee on Regional
 Anesthesia, Executive Committee, and Administrative Council. The journal of pain: official journal of the American
 Pain Society. 2016; 17(2):131-57.

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                                                             patients undergoing open and laparoscopic colorectal
                                                             surgery.” 17
  Breast             2017     ERAS Society                   Strong recommendation for the use of multimodal
  Reconstruction                                             opioid-sparing postoperative pain management
                                                             regimens, noting that “[a] single injection of
                                                             liposomal bupivacaine lasts for several days,
                                                             potentially avoiding the need for catheter-based
                                                             infusions.” 18
  Colorectal         2018     ERAS Society                   Strong recommendation for the use of TAP blocks
  Surgery                                                    for minimally invasive colorectal surgery, noting
                                                             that shorter acting local anesthetics have limited
                                                             duration. Liposomal bupivacaine is included as an
                                                             alternative to extend the duration. 19
  Gynecologic        2019     ERAS Society                   Strong recommendation for a multimodal post-
  Oncology                                                   operative analgesic protocol using non-opioid oral
                                                             medications and incisional injection of local
                                                             anesthetic to decrease the need for systemic
                                                             medications, stating that “[i]ncisional infiltration
                                                             with either bupivacaine or liposomal bupivacaine
                                                             has no systemic side effects when used
                                                             appropriately, and should be incorporated into all
                                                             ERAS protocols as a component of multimodal
                                                             analgesia.” 20
  Thoracic Surgery     2018      ERAS Society,               Recommendation for peripheral nerve blocks over
                                European Society of          thoracic epidural, noting that “liposomal bupivacaine
                                Thoracic Surgeons            also shows promise when delivered as multilevel
                                (ESTS)                       intercostal injections, potentially providing blockade
                                                             of intercostal nerves for up to 96 hours.” 21
  Vulvar and           2020     ERAS Society                 Recommendation for a multimodal postoperative
  Vaginal Surgery                                            analgesic protocol with minimal opioids prescribed
                                                             at discharge, noting that “there is some support for
                                                             using local anesthetics, especially for paracervical
                                                             and vaginal cuff blocks; liposomal bupivacaine may
                                                             be helpful but still requires further study.” 22

 17
    Carmichael JC, Keller DS, Baldini G, Bordeianou L, Weiss E, Lee L, et al. Clinical Practice Guidelines for
 Enhanced Recovery After Colon and Rectal Surgery From the American Society of Colon and Rectal Surgeons and
 Society of American Gastrointestinal and Endoscopic Surgeons. Dis Colon Rectum. 2017; 60(8):761-84.
 18
    Temple-Oberle C, Shea-Budgell MA, Tan M, Semple JL, Schrag C, Barreto M, et al. Consensus Review of
 Optimal Perioperative Care in Breast Reconstruction: Enhanced Recovery after Surgery (ERAS) Society
 Recommendations. Plast Reconstr Surg. 2017; 139(5):1056e-71e.
 19
    Gustafsson UO, Scott MJ, Hubner M, Nygren J, Demartines N, et al. Guidelines for Perioperative Care in Elective
 Colorectal Surgery: Enhanced Recovery After Surgery (ERAS) Society Recommendations: 2018. World J Surg.
 2019 Mar; 43(3):659-695.
 20
    Nelson G, Bakkum-Gamez J, Kalogera E, Glaser G, Altman A, Meyer LA, et al. Guidelines for perioperative care
 in gynecologic/oncology: Enhanced Recovery After Surgery (ERAS) Society recommendations-2019 update. Int J
 Gynecol Cancer. 2019 Mar 15. [Epub ahead of print]
 21
    Batchelor TJP, Rasburn NJ, Abdelnour-Berchtold E, Brunelli A, Cerfolio RJ, Gonzalez M, et al. Guidelines for
 enhanced recovery after lung surgery: recommendations of the Enhanced Recovery After Surgery (ERAS(R))
 Society and the European Society of Thoracic Surgeons (ESTS). European journal of cardio-thoracic surgery:
 official journal of the European Association for Cardio-thoracic Surgery. 2019; 55(1):91-115.
 22
    Alon D. Altman, Magali Robert, Robert Armbrust, William J. Fawcett, Mikio Nihira, Chris N. Jones, Karl
 Tamussino, Jalid Sehouli, Sean C. Dowdy, Gregg Nelson, Guidelines for vulvar and vaginal surgery: Enhanced
 Recovery After Surgery Society recommendations, American Journal of Obstetrics and Gynecology, 2020; 223(4):
 475-485.

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           LB has been studied at length, and the balance of these studies demonstrates LB is an
 effective form of analgesia with benefits over non-liposomal bupivacaine. Indeed, the Hussain
 review itself recognizes that pharmacokinetic studies corroborate LB’s effective slow release of
 bupivacaine, “showing sustained plasma bupivacaine levels up to 96 h[ours] and even 120
 h[ours] after interscalene brachial plexus block.” 23 Further, there is a reason the FDA approved
 use of LB in October 2011. Based on two successful trials in nociceptive pain (meaning two
 studies in which patients had a reduced perception or sensation of pain), FDA approved LB for
 administration into a surgical site as a wound infiltration/field block analgesia across all surgical
 sites. 24 These were multicenter, randomized, double-blind, placebo-controlled studies. The FDA
 also expanded approval of LB in 2018 to include interscalene brachial plexus nerve blocks based
 on an additional multicenter, randomized, double-blind, placebo-controlled study.

         Since approval, clinical and economic outcomes associated with LB use have been
 evaluated, reviewed, and discussed in hundreds of journal articles, conference presentations, and
 abstracts across many surgical areas and within a wide variety of analgesic protocols. LB has
 received substantial attention, especially as efforts have evolved in recent years to focus on
 improving pain management and reducing opioid use after surgery. Early studies often compared
 LB to opioids and demonstrated that LB provides superior pain control and significantly reduces
 the need for opioids. For example, the Yalmachnili RCT, presented in 2015, examined 100
 patients who underwent laparotomy, a major abdominal procedure, compared patients receiving
 (1) LB, (2) intravascular opioids alone, and (3) a continuous infusion of bupivacaine. Patients
 who received LB showed a 52% reduction in total opioid consumption compared to the patients
 who received opioids only (101.3 versus 210.2 mg morphine equivalents through postoperative
 day 3; p<0.001), and a 43% reduction compared to patients who received continuous
 bupivacaine infusion (101.3 versus 177.8 mg morphine equivalents through postoperative day 3;
 p<0.001), as well as lower pain scores through postoperative day 3 (p ≤ 0.005), and fewer
 opioid-related side effects compared to both groups (p = 0.002). 25 Over time, studies have
 evolved and now often evaluate LB as part of a regimen of multiple types of non-opioid
 treatments (in technical terms, opioid-sparing multimodal analgesic protocols). In total, over 150
 primary research studies have been published to date which evaluate the use of LB compared to
 an alternate regional anesthesia in real-world uses. Studies have been conducted as either RCTs,
 or as observational studies that were part of a continuous quality improvement evaluation to
 provide evidence of improved patient care.

          In order to provide an overview of the available LB research, I conducted a systematic
 literature search and reviewed all primary clinical research manuscripts that I found that were
 published in peer-reviewed journals between January 1, 2011, and February 28, 2021, and which

 23
    Hussain N, Brull R, Sheehy B, Essandoh MK, Stahl DL, Weaver TE, et al. Perineural Liposomal Bupivacaine Is
 Not Superior to Nonliposomal Bupivacaine for Peripheral Nerve Block Analgesia. Anesthesiology. 2021; 134: 147-
 64, at 11. (Hereinafter “Hussain.”)
 24
    Food and Drug Administration (FDA). Guidance for Industry Analgesic Indications: Developing Drug and
 Biological Products. February 2014. Available at:
 https://www.fda.gov/downloads/drugs/guidancecomplianceregulatoryinformation/guidances/ucm384691.pdf.
 25
    Yalmanchili HM, Buchanan SN, Chambers LW, et al. Postlaparotomy pain management: Comparison of patient-
 controlled analgesia pump alone, with subcutaneous bupivacaine infusion, or with injection of liposomal
 bupivacaine suspension. J Opioid Manag. 2019; 15(2):169-175.

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 evaluated the effectiveness of LB versus immediate-release local anesthetics (i.e., “head-to-
 head” studies) across a broad range of procedures. Together, these evaluate various outcomes,
 including pain reduction, opioid reduction, improved function, shortened hospital stay, safety,
 and/or procedural convenience/cost. (See Appendix I, methods of study selection). The head-to-
 head studies were conducted primarily to assess the use of LB in a variety of real-world practice
 settings and are overwhelmingly favorable toward LB. These studies provide more information
 on clinical context and further confirm the wide applicability across appropriate surgical
 procedures and the need to provide clinicians with additional non-opioid options to manage pain.

                             Table 2. Published head-to-head studies
  Favorability is defined as author’s conclusions of findings including pain, opioid use, function,
               hospital stay, cost and/or safety. (Citations available in Appendix II.)

         Procedural           Total N    No.           Design (RCT |           %
         Area                            Studies       Obs)                    Favorable
         Orthopedic           19,320     95                   40 | 55          56%
         OB/GYN               1,142      12                     9|3            67%
         Plastic              1,040      13                     7|6            69%
         General              1,074      6                      4|2            67%
         Cardiothoracic 6,261            21                    2 | 19          67%
         Colorectal           1,866      7                      4|3            86%
         Urologic             641        7                      4|3            29%
         Pediatric            326        3                      0|3            100%
         Other*               1,056      8                      3|5            62%
 *Procedural areas: dental (3), ophthalmology (1), transplant (2), trauma (1), multiple (1)

         Although the results can vary by procedural area, when LB is evaluated directly against
 an immediate-release local anesthetic, the strong majority of studies are favorable to LB, and
 therefore demonstrate its effectiveness overall.

         Many of these studies also specifically demonstrate that LB is superior to non-liposomal
 bupivacaine, at least for specific procedural areas. For example, the multi-center PILLAR trial
 randomized 139 subjects undergoing total knee replacements into two groups: an experimental
 group receiving non-liposomal bupivacaine and LB, and a control group receiving only non-
 liposomal bupivacaine. Investigators followed a standardized infiltration technique, which is
 important to providing complete coverage of the surgical site. The results were overwhelmingly
 positive. The experimental group had much-improved pain scores and the average opioid
 consumption in the first 48 hours was only 16 mg for experimental group compared to 80 mg for
 the control group. 26

        In another study, an RCT of patients undergoing surgery to address a condition in their
 hands called Dupuytren contractures were randomized into an experimental group receiving a
 mixture of bupivacaine and LB and a control group receiving bupivacaine alone. The

 26
   Mont MA, Beaver WB, Dysart SH, Barrington JW, Del Gaizo DJ: Corrigendum to “local infiltration analgesia
 with liposomal bupivacaine improves pain scores and reduces opioid use after total knee arthroplasty: Results of a
 randomized controlled trial” [Journal of Arthroplasty 33 (2018) 90-96]. J Arthroplasty 2019; 34:399-400.

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 experimental group had average pain score improvements of between 1 to 2 points (on an 11-
 point scale). 27 And an RCT of 40 patients undergoing bunion repair surgery were randomized
 into three groups, one receiving only general anesthesia, one receiving LB and bupivacaine, and
 a third receiving bupivacaine alone. The group receiving the bupivacaine and LB combination
 required much lower doses of opioids—only 9.6 mg of morphine equivalents, compared to 26.8
 mg in the bupivacaine-alone group and 60.4 mg in the general anesthesia group. 28

        Similarly, the Mayo Clinic in Rochester, Minnesota, was an early adopter of enhanced
 recovery protocols, which included a multimodal analgesic regimen. They conducted a large
 study of 358 patients to compare local infiltration of LB to bupivacaine as part of an opioid-
 minimized enhanced recovery protocol for patients undergoing similar procedures. Their study
 showed that LB was able to provide comparable pain scores to plain bupivacaine plus other
 analgesics while requiring fewer opioids and having fewer opioid-related side effects. 29 This
 study has been cited in guidelines which recommend the use of LB 30 as well as a call to action
 for implementing enhanced recovery protocols for cesarean sections. 31

         To be sure, as is observed with other local anesthetics, studies are not uniformly positive
 for LB. The studies make clear that the efficacy of LB depends on the specific surgical
 procedure, use of LB (i.e., direct infiltration/tissue plane block or peripheral nerve block), and
 proper execution by the anesthesiologist. For example, as discussed more below, studies strongly
 favor LB for certain uses in colorectal surgeries and gynecological oncology surgeries. But the
 benefits that LB can provide compared to other alternatives are more mixed with respect to, e.g.,
 urologic procedures, such as urethral sling procedures, which are associated with prolonged pain
 that may be experienced beyond the surgical area. The medical field also continues to learn how
 to best use LB for specific surgical procedures, in terms of e.g., proper dose. In general, regional
 anesthesia is a rapidly evolving field which continues to develop new approaches for improved
 pain management. I anticipate that in time, LB will prove to be effective for more surgical
 procedures than currently demonstrated as physicians and researchers continue to evolve best
 practice for regional anesthesia and the use of LB.

         Although LB studies are not universally favorable, this is not surprising. Studies of pain
 treatments—not just LB—often result in mixed outcomes. In discussing the challenge of
 developing analgesics, Sharon Hertz, MD, Director of the FDA Division of Anesthesia,
 Analgesia and Addiction Products noted that clinical trials of analgesics are “unpredictable,”
 stating that “[a] number of pharmacologic treatments examined in recent randomized clinical

 27
    Vandepitte C, et al.: Effect of Bupivacaine Liposome Injectable Suspension on Sensory Blockade and Analgesia
 for Dupuytren Contracture Release. J. of Hand Surgery Global Online 2019; 191-197.
 28
    Van Boxstael S, et al.: Analgesia after Hallux Valgus Osteotomy Posterior Tibial and Deep Peroneal Nerve Ankle
 Blocks with Bupivacaine Liposome Injectable Suspension+Bupivacaine HCl vs. Bupivacaine HCl vs. General
 Anesthesia Alone: A Randomized Clinical Trial. Clinical Res Foot Ankle 2019, 7:3.
 29
    Kalogera E, Bakkum-Gamez JN, Weaver AL, Moriarty JP, Borah BJ, Langstraat CL, et al. Abdominal Incision
 Injection of Liposomal Bupivacaine and Opioid Use After Laparotomy for Gynecologic Malignancies. Obstet
 Gynecol. 2016; 128(5):1009-17.
 30
    Nelson G, Bakkum-Gamez J, Kalogera E, Glaser G, Altman A, Meyer LA, et al. Guidelines for perioperative care
 in gynecologic/oncology: Enhanced Recovery After Surgery (ERAS) Society recommendations-2019 update. Int J
 Gynecol Cancer. 2019 Mar 15.
 31
    Peahl AF, Smith R, Johnson T, Morgan D, Pearlman M. Better late than never: why obstetricians must implement
 enhanced recovery after cesarean. American Journal of Obstetrics & Gynecology. 2019.

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 trials have failed to show statistically significant superiority to placebo in conditions in which
 their efficacy had previously been demonstrated.” 32 Pain trials often fail due to complexities of
 measuring pain and the need for concomitant analgesics. 33,34,35 In addition, comparative studies
 can show a lack of difference in pain scores due to many factors, primarily the subjectivity of
 pain and prescribing practices in which over-prescribing opioids negates any ability to detect a
 difference in pain outcomes.

          Said another way, pain trials (including trials of LB) often show no difference between
 treatments when, in fact, there is a difference. First, pain is subjective and difficult to measure
 accurately. What one patient self-identifies as a “level 3” pain, another patient may identify as a
 “level 6.” Additionally—and this is a significant problem—patients in trials receive other
 analgesics beyond the test drugs. Ethically, patients cannot be left in pain. If they are in pain,
 they receive “rescue” medication as needed to control it. As a result, it can be exceedingly
 difficult to tease out the impact of a single drug when multiple drugs are needed to manage pain.
 Often these studies do not take into account these challenges and are often significantly
 underpowered to detect differences between treatment groups. Indeed, the fact that such a large
 majority of head-to-head LB studies are favorable is, itself, striking. For this reason, the ASA
 itself has issued guidelines that recommend various anesthetic treatments, even when the studies
 are inconclusive or mixed. 36

          At bottom, it is simply impossible for LB to be no different than plain bupivacaine or
 similar other local anesthetics. This is an important point to understand. Until LB, a single dose
 of a plain local anesthetic by itself has been shown to provide pain relief only up to ten hours. 37
 The only way other local anesthetics can provide pain relief much beyond 10 hours is if they are
 combined with other medications, such as epinephrine, 38 which gives a few additional hours of
 relief, or provided through more than one dose, such as a continuous infiltration through a
 catheter. But as noted earlier, catheter infusions are not ideal.

        Thus, the balance of research on liposomal bupivacaine demonstrates that it provides
 prolonged pain relief and is superior to other local anesthetics, including non-liposomal
 bupivacaine. The approval by the FDA and endorsement by various professional societies

 32
    Hertz S. Challenge of Developing New Pain Medicines – Developing Novel Analgesics and Abuse-Deterrent
 Opioid Formulations. FDA Science Board, March 1, 2016.
 33
    Id.
 34
    U.S. Department of Health and Human Services, Food and Drug Administration, Center for Drug Evaluation and
 Research (CDER), Center for Biologics Evaluation and Research (CBER). Non-Inferiority Clinical Trials to
 Establish Effectiveness: Guidance for Industry. November 2016.
 35
     Cui Y et al. Intra-articular bupivacaine after joint arthroplasty: a systematic review and meta-analysis of
 randomized placebo-controlled studies BMJ Open 2016; 6:e011325 [many bupivacaine trials also have failed].
 36
    ASA, “Practice Guidelines for Acute Pain Management in the Perioperative Setting” at 253 (recommending
 “peripheral regional techniques” even though the evidence was largely equivocal or the number of studies was
 insufficient) [hereinafter “ASA Practice Guidelines”], available at
 https://www.asahq.org/~/media/sites/asahq/files/public/resources/standards-guidelines/practice-guidelines-for-acute-
 pain-management-in-the-perioperative-setting.pdf.
 37
    Ropivacaine prescribing information
 https://www.accessdata.fda.gov/drugsatfda_docs/label/2018/020533s035lbl.pdf; Baxter bupivacaine HCl
 monograph, https://www.baxter.ca/sites/g/files/ebysai1431/files/2019-
 06/Bupivacaine_Hydrochloride_Injection_USP_EN.pdf.
 38
    Bupivacaine HCl 0.5% with epinephrine monograph, https://pdf.hres.ca/dpd_pm/00016123.PDF.

                                                         10
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 reaffirms this conclusion. It is not surprising that not all studies uniformly demonstrate a benefit
 of LB due to the complexities of any pain treatment trial and the fact that LB’s value depends on
 the precise technique used, proper implementation, and the specific surgical area involved.

 V.      THE FEBRUARY 2021 EDITION OF ANESTHESIOLOGY PUBLISHED THREE
         ARTICLES CONTAINING FALSE CONCLUSIONS ABOUT LIPOSOMAL
         BUPIVACAINE.

       The February 2021 issue of Anesthesiology contained three articles that were critical of
 LB. Each of these contains false conclusions about the effectiveness of LB.

         A.       The Hussain “Meta-Analysis” Contains False Conclusions—It Reviewed an
                  Overly Circumscribed Universe of Studies and Failed to Recognize
                  Differences in Results Among Surgical Procedures.

         The first article, by Dr. Nasir Hussain et al., identifies itself as a “systematic review and
 meta-analysis.” 39 A systematic review is a review of the scientific evidence of a pre-specified
 question using thorough and specific methodology to identify, select and critically appraise
 relevant primary research. A meta-analysis, which combines the studies and analyzes them to
 assess specific outcomes, can then be conducted if the studies located in the systematic review
 are sufficiently similar in their methodologies and outcome assessments. 40

          The authors claim to have searched for and reviewed “randomized trials that compared
 the effect of perineural liposomal bupivacaine with nonliposomal local anesthetics[.]” 41 Upon
 review of those trials, the authors conclude—as stated prominently in the title—that LB “is not
 superior” to non-liposomal bupivacaine for nerve block analgesia. However, this bold statement
 is false.

         First, the authors’ blanket conclusion masks the differences of LB’s benefit by
 procedural area and type of use of LB. Although current research may not yet demonstrate as
 much benefit of LB for certain uses, such as dorsal penile nerve block and penile ring block for
 inflatable penile prosthesis (IPP) placement—which one of the studies analyzed by Hussain et al.
 examined—the evidence is strong with respect to other uses. For example, research strongly
 supports the use of LB with respect to interscalene brachial plexus block (a peripheral nerve
 block) for rotator cuff repair or shoulder arthroplasty. The authors’ all-inclusive statement that
 LB is flatly “not superior” to non-liposomal bupivacaine is false because for certain treatments it
 is demonstrably superior, particularly with adequate dosing and proper technique.

        Second, the authors carefully curate the trials for review, allowing them to reach what
 appears to be a pre-determined outcome. I am aware of at least four studies that satisfy the



 39
    Hussain at 1.
 40
    Undertaking Systematic Reviews of Research on Effectiveness. CRD’s Guidance for those Carrying Out or
 Commissioning Reviews. CRD Report Number 4 (2nd Edition). NHS Centre for Reviews and Dissemination,
 University of York. March 2001.
 41
    Hussain at 2.

                                                      11
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 authors’ eligibility criteria—all of which were favorable to LB—but which the authors did not
 include:

         Sethi PM, Brameier DT, Mandava NK, Miller SR. Liposomal bupivacaine reduces opiate
          consumption after rotator cuff repair in a randomized controlled trial. J Shoulder Elbow
          Surg. 2019 May; 28(5):819-827;

         Belsh Y, et al. A Prospective, Randomized, Double-Blind, Controlled Trial Comparing
          Liposomal Bupivacaine with Ropivacaine in Adductor Canal Block for Total Knee
          Arthroplasty Patients. 2018 World Congress on Regional Anesthesia & Pain Med. April
          19-21, 2018; 42

         Vandepitte C, et al.: Effect of Bupivacaine Liposome Injectable Suspension on Sensory
          Blockade and Analgesia for Dupuytren Contracture Release. J. of Hand Surgery Global
          Online 2019; 191-197; and

         Van Boxstael S, et al.: Analgesia after Hallux Valgus Osteotomy Posterior Tibial and
          Deep Peroneal Nerve Ankle Blocks with Bupivacaine Liposome Injectable
          Suspension+Bupivacaine HCl vs. Bupivacaine HCl vs. General Anesthesia Alone: A
          Randomized Clinical Trial. Clinical Res Foot Ankle 2019, 7:3.

          Additionally, the Hussain analysis authors included a trial by Vandepitte that was
 favorable to LB. However, the authors recommended that the trial results be disregarded simply
 because the trial was industry-funded. This strategic decision fundamentally changed the results
 of the meta-analysis from one in which the results showed a statistically significant improvement
 in pain when LB was used over a local anesthetic, to a benefit the authors deemed clinically
 “nonsignificant.” 43 Medical publishing standards do not countenance discounting industry-
 funded studies on that basis alone. The Cochrane Risk of Bias tool, a standard tool used to assess
 risk in systematic reviews and meta-analyses, 44 does not include industry funding in their
 assessment tool. 45 It acknowledges that any bias that may be introduced is, at most, uncertain.
 The Cochrane handbook states: “financial conflicts of interest are less important in a trial
 initiated, designed, analysed and reported by academics adhering to the arm’s length principle
 when acquiring free trial medication from a drug company, and where lead authors have no
 conflicts of interest.” 46 This describes the conditions of the Vandepitte trial, which was funded as
 42
    This study compared LB to ropivacaine, which is highly similar to bupivacaine, and would fall within the Hussain
 eligibility criteria of “nonliposomal local anesthetics.” Although the Belsh study is only an abstract without full text,
 it contains the relevant data. Several of the trials included in the Hussain analysis were also unpublished and did not
 contain full texts: Badman (published after the Hussain analysis was prepared), Shariat, Cios, and Khandhar.
 43
    Hussain at 1.
 44
    The Cochrane Collaboration is an independent nonprofit organization whose “main purpose..is to develop
 systematic reviews of the strongest evidence available about healthcare interventions.” [About the Cochrane
 Collaboration. Available at https://consumers.cochrane.org/about-cochrane-collaboration.]
 45
    Sterne JAC, Savović J, Page MJ, Elbers RG, Blencowe NS, Boutron I, Cates CJ, Cheng H-Y, Corbett MS,
 Eldridge SM, Hernán MA, Hopewell S, Hróbjartsson A, Junqueira DR, Jüni P, Kirkham JJ, Lasserson T, Li T,
 McAleenan A, Reeves BC, Shepperd S, Shrier I, Stewart LA, Tilling K, White IR, Whiting PF, Higgins JPT. RoB 2:
 a revised tool for assessing risk of bias in randomised trials. BMJ 2019; 366:l4898. Available from
 https://sites.google.com/site/riskofbiastool/welcome/rob-2-0-tool?authuser=0.
 46
    Boutron I, Page MJ, Higgins JPT, Altman DG, Lundh A, Hróbjartsson A. Chapter 7, Section 8.6: Considering
 bias and conflicts of interest among the included studies. In: Higgins JPT, Thomas J, Chandler J, Cumpston M, Li T,

                                                            12
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 an investigator-initiated grant. Indeed, the authors of the Hussain paper themselves recognize
 that the Vandepitte trial was the most sound of any of the underlying studies. Figure 2 on page 7
 of the Hussain analysis analyzes each of the studies for common markers for bias and low quality
 data. Vandepitte was the only study not to demonstrate indicia of bias.

         The authors also included two studies they should have excluded. One of the nine trials
 was by Zhang et al. The Zhang study relates to a pec block, a type of a tissue plane block 47—not
 a peripheral nerve block—the subject of the Hussain analysis. The Hussain analysis claims to
 have excluded tissue plane block studies. I also searched extensively for the Zhang and could not
 locate it. Among other locations, I searched Google Scholar, PubMed and Embase, and
 clinicaltrials.gov. Pacira finally obtained a copy only through a request to the authors of the
 Hussain analysis. The fact that I could not locate it suggests that the authors went to some effort
 to find studies that were not favorable to LB. Further, Additionally, the Hussain paper includes a
 Xie trial, but that trial does not report data in an extractable form.

         It is precisely this selection bias that the Cochrane Collaboration Handbook warns can
 occur in meta-analyses and which can skew the results: “The first is in the results of the
 individual studies included in a systematic review. Since the conclusions drawn in a review
 depend on the results of the included studies, if these results are biased, then a meta-analysis of
 the studies will produce a misleading conclusion.” 48

         Third, the Hussain analysis relied on studies with considerable clinical and
 methodological differences that are not susceptible to comparison. The underlying trials of LB
 involved vastly different surgical procedures, different types of nerve blocks, and different
 volume and doses of LB. The nine underlying studies covered nine different surgeries: “major
 shoulder surgery, rotator cuff surgery, arthroscopic shoulder surgery, hip arthroscopy, total knee
 arthroplasty, video-assisted thoracoscopic surgery, minimally invasive lung resection, inflatable
 penile prosthesis placement, and total mastectomy.” 49 The studies also covered six different
 types of nerve blocks: “interscalene nerve block, adductor canal block, intercostal nerve block,
 dorsal penile block, fascia iliaca block, and pectoralis myofascial plane block.” 50 Further, the
 volume and dose of LB ranged from 10 to 40 ml of LB and 88 to 266 mg. In other words, the
 authors chose studies that were inappropriate to group together to evaluate a common outcome. 51

 Page MJ, Welch VA (editors). Cochrane Handbook for Systematic Reviews of Interventions version 6.2 (updated
 February 2021). Cochrane, 2021. Available from www.training.cochrane.org/handbook.
 47
    Blanco R, Barrington MJ. Pectoralis and Serratus Plane Nerve Blocks. NYSORA. Available from
 https://www.nysora.com/regional-anesthesia-for-specific-surgical-procedures/thorax/pectoralis-serratus-plane-
 blocks/.
 48
    Boutron I, Page MJ, Higgins JPT, Altman DG, Lundh A, Hróbjartsson A. Chapter 7: Considering bias and
 conflicts of interest among the included studies. In: Higgins JPT, Thomas J, Chandler J, Cumpston M, Li T, Page
 MJ, Welch VA (editors). Cochrane Handbook for Systematic Reviews of Interventions version 6.2 (updated
 February 2021). Cochrane, 2021. Available from www.training.cochrane.org/handbook.
 49
    Hussain at 4.
 50
    Id.
 51
    In addition to these methodological differences, the studies are also characterized by statistical heterogeneity,
 despite the authors’ repeated claims to the contrary. For the primary outcome, scores for “area under the curve”
 (which are an assessment of reported pain levels), the authors state that the studies had low heterogeneity, but they
 fail to report to the I2 statistic to confirm. For the secondary outcome of reduced opioid consumption, the authors
 define severe heterogeneity as an I2 calculation of 50% or greater, rather than the standard 40%. Even by their own
 standard, however, the I2 calculation was 68% for the 25-48 hour pain results, and narrowly carves out results for the

                                                          13
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 ASA’s own practice demonstrates that this is not an acceptable method. In ASA’s 2012 “Practice
 Guidelines for Acute Pain Management in the Perioperative Setting,” they separately assess
 randomized controlled trials not only by body area but also by timing of administration (i.e.,
 whether the drug was provided pre- or post-surgical incision). 52

          Fifth, not only did the authors review trials about very different types of procedures,
 many of those procedures did not relate to the most effective uses of LB—as noted above, the
 success of LB varies by procedure and specific technique. For example, the studies included a
 penile block for prosthesis placement and a fascia iliaca block for hip arthroscopy, which are not
 common uses of LB and for which research has not yet identified if there is an optimal dose and
 technique for which LB, as well as other local anesthetics, would be particularly effective. The
 trials did include three that looked at LB as an interscalene blocking agent in shoulder surgeries,
 which is a common use of LB, but one of those studies (Shariat [reference 76]) was conducted
 prior to FDA approval and before Pacira had determined the optimal dose of LB for that use (133
 mg); accordingly, the study used only 88 mg as the dosage. It was conducted as a pilot study,
 meaning that data for using LB in this manner did not exist yet, and the purpose of the study was
 to experiment with different doses and techniques to assess whether this might be a viable
 treatment and at what dose. The other two interscalene trials (Badman [reference 73] and
 Vandepitte [reference 71]) both used 133 mg and reached favorable outcomes for LB. Indeed,
 because the Vandepitte study was published while Pacira was conducting its Phase 3 interscalene
 trial, Pacira used it to inform the optimal dosing for the Phase 3 trial.

          Sixth, the authors’ own analysis does not support the conclusion stated in the title.
 Rather, at most, the review supports a conclusion only that it is inconclusive whether LB is
 superior to non-liposomal bupivacaine. Indeed, that is what the editor comments at the top state,
 that “it remains unclear.” 53 And the authors’ conclusion that LB is “not superior” to non-
 liposomal bupivacaine is counter to their own acknowledgment that the results demonstrate a
 “statistically significant” difference between LB and non-liposomal bupivacaine. Reaching an
 opinion any stronger than “inconclusive” would be to extrapolate from the underlying studies
 beyond the bounds of what they reasonably permit for two reasons: (1) the diversity of the
 underlying studies (discussed above), and (2) the poor quality of the data. According to the
 GRADE (Grading of Recommendations, Assessment, Development and Evaluations) framework
 utilized by the Hussain study, studies have low-quality data when, for example, they are small,
 not randomized, have known or unknown risks of bias, weak P value,- or incomplete outcome
 data. 54 The Hussain analysis authors reviewed underlying trials that were marked by poor-quality
 data, as is evidenced by their own risk of methodologic bias assessment depicted in Figure 2 (p.
 7), showing shortcomings in all studies with the exception, ironically, of the study by Vandepitte,
 which they excluded from their final calculation due to what they deem conflict-of-interest bias.

         Indeed, for these reasons (poor quality and diversity of underlying data), among others, it
 is not uncommon for meta-analyses and systematic reviews to reach inconclusive results. A
 review of LB meta-analyses and systematic reviews demonstrates the same issue with LB. My

 49-72 hour pain, which were 49% (which would have demonstrated statistical heterogeneity under the standard 48%
 threshold).
 52
    Supra n.36, ASA Practice Guidelines at 253.
 53
    Hussain at 1.
 54
    https://bestpractice.bmj.com/info/us/toolkit/learn-ebm/what-is-grade/

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 literature review identified 35 such reviews related to LB. Sixty-five percent of these reviews (23
 of 35) report some benefit of LB over the comparator. Nevertheless, 22 of 35 ultimately result in
 inconclusive or cautiously optimistic findings due to the high degree of heterogeneity across
 studies and/or a lack of high-quality data, which is typical of pain studies in general. Table 3
 provides various examples of these types of conclusions. This stands in contrast to the head-to-
 head studies that had more definitive outcomes, most of which were favorable to LB.

   Table 3. Inconclusive or Neutral Meta-Analyses and Systematic Reviews Due to Limited
                                    High Quality Evidence

  Year   Procedural     Study                     LB                 Studies        Authors’ Conclusions
         Area                                     Administration     Included
  2017   Various        Hamilton TW, et al.       LB Local           9 RCTs in      LB appears to reduce
         Surgical       Cochrane Database of      infiltration       systematic     pain compared to
         Procedures     Systematic Reviews.                          review,        placebo, however, the
                        2017; 2:CD011419.                            none in        limited evidence does not
                                                                     meta-          demonstrate superiority
                                                                     analysis       to bupivacaine
                                                                                    hydrochloride. Due to the
                                                                                    low quality and volume
                                                                                    of evidence our
                                                                                    confidence in the effect
                                                                                    estimate is limited. the
                                                                                    true effect may be
                                                                                    substantially different
                                                                                    from our estimate.
  2018   Colorectal     Raman S, et al. Journal   Colorectal         7 studies      LB is associated with
         Surgery        of Drug Assessment.       Resections         (1008          decreased IV opioid use,
                        2018; 7(1):43-50.                            patients)      length of stay and lower
                                                                                    pain scores. However,
                                                                                    our data needs to be
                                                                                    interpreted cautiously
                                                                                    given the relative paucity
                                                                                    of randomized controlled
                                                                                    trials.
  2020   Colorectal     Byrnes KG, et al.         Colorectal         12 studies     LB reduced opioids and
         Surgery        Colorectal Dis. 2020.     Enhanced           (2512          hospital stay, however
                                                  Recovery           patients)      the confidence in these
                                                  Pathways                          estimates was graded as
                                                                                    very low. Further well-
                                                                                    executed trials are
                                                                                    needed.
  2020   Plastic        Abdou SA, et al.          LB TAP vs. LA      10 studies     Data support the use of
         Surgery        Journal of                single shot TAP    (684           TAP blocks in
                        reconstructive            vs. continuous     patients) –    autologous breast
                        microsurgery.             TAP                LB: 4          reconstruction, however
                        2020;36(5):353-61.        Microsurgical      studies (139   additional large studies
                                                  Breast             patients)      with more standardized
                                                  Reconstruction                    protocol are needed
  2019   Orthopedic     Zhao B, et al. Medicine   LB local           12 RCTs        Comparable pain control
         Procedures     (Baltimore). 2019;        infiltration vs.                  at 24h and 48h,
                        98(3):e14092              LA infiltration                   comparable nausea and
                                                                                    LOS, significant
                                                                                    reduction in opioids at

                                                     15
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  Year   Procedural     Study                      LB                 Studies      Authors’ Conclusions
         Area                                      Administration     Included
                                                   Total joint                     24h (P<.0001), and 48h
                                                   arthroplasty                    (P=.0008). However,
                                                   (TKA/THA)                       additional high quality
                                                                                   studies needed for more
                                                                                   conclusive evidence
  2017   Shoulder       Yan Z, et al. Medicine.    LB local           5 studies    LB local infiltration
         Procedures     2017; 96(27):e7226.        infiltration LB    (573         comparable on reducing
                                                   vs. LA             patients)    both pain scores and the
                                                   interscalene                    hospital stay. However,
                                                   block                           large, higher quality
                                                   Total shoulder                  studies needed
                                                   arthroplasty
  2017   Total Hip      Zhang X, et al.                               4 studies     LB could significantly
         Arthroplasty   Medicine. 2017;                               (308         reduce pain, opioid use
                        96(49):e8433..                                patients)    within the first 48 hours
                                                                                   and nausea and vomiting.
                                                                                   The overall evidence
                                                                                   level was low. Further
                                                                                   research is likely to
                                                                                   significantly alter
                                                                                   confidence levels in the
                                                                                   effect, as well as
                                                                                   potentially changing the
                                                                                   estimate
  2016   Total Knee     Wu ZQ, et al. J Orthop     LB local           5 studies    LB demonstrated better
         Arthroplasty   Surg Res. 2016;            infiltration       (574         pain control; however,
                        11(1):84.                  vs. various        patients)    the sample size was
                                                   comparators                     limited. Further RCTs are
                                                   (including                      needed
  2017   Total Knee     Singh PM, et al.           continuous         16 studies   LB associated with
         Arhroplasty    Journal of Arthroplasty.   infiltration and                shorter hospital stay and
                        2017; 32(2):675-88.e1      nerve block)                    better pain control, but
                                                                                   superiority and/or
                                                                                   inferiority could not be
                                                                                   established and results
                                                                                   may not be clinically
                                                                                   meaningful due to low
                                                                                   quality/high
                                                                                   heterogeneity


         These results are not surprising and do not provide a sound basis to conclude that LB
 does not provide benefits over non-liposomal bupivacaine. When clinical studies of a drug or
 medical device are characterized by substantial diversity (e.g., studying different uses of the
 medication in different surgical sites at different dosages among different populations with
 different pain regimens), inconsistent findings across meta-analyses and results that conflict with
 large randomized controlled trials are not uncommon. Given that LB can be used in many
 different types of procedures and in different manners (i.e., site infiltration versus a nerve
 blocking agent), in which the effectiveness varies by type and use, and that study designs vary
 and other analgesics are typically provided, one would expect inconclusive or neutral
 conclusions. This likelihood is compounded by the large volume of LB studies that produced

                                                      16
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 low-quality data. Accordingly, meta-analyses and systematic reviews can create a misleading
 impression by diminishing the findings of effectiveness of pain treatments. Thus, interpretation
 of meta-analyses and systematic reviews, especially with respect to LB must be approached with
 caution. This is why a systematic review of all head-to-head studies, as I performed, provides a
 more comprehensive and informative assessment of the existing research on LB without
 combining data from diverse protocols that would lead to inaccurate and misleading conclusions.

         Finally, the primary outcome assessed in the Hussain analysis is area under the curve of
 pain scores, but that is not an appropriate outcome since most studies did not assess pain in a
 way to determine a trend over time. In addition, studies did not account for other analgesics to
 truly determine the effect of LB; healthcare professionals cannot simply leave their patients in
 pain when additional treatment is needed, so they are provided additional pain treatment.
 Evaluating mean pain scores alone tends to minimize the difference between LB and the
 comparator. Instead, studies that account for the fact that patients receive additional analgesics
 beyond the test drugs (patients cannot be left in pain; they are provided additional medication as
 needed), such as the PILLAR trial and the bunion repair trial discussed above, assess more
 informative outcomes.

        For these reasons, the analysis the Hussain review authors conducted does not support a
 conclusion that LB is not superior to non-liposomal anesthetics. Such a conclusion is false and
 misleading.

            B.       The Conclusions of the Ilfeld Review Are Likewise False.

          The article by Ilfeld et al. falsely proclaims that “the preponderance of current evidence
 fails to support the routine use of liposomal bupivacaine over standard local anesthetics when
 treating postoperative pain.” 55 It then magnifies the import a reader would give to that
 conclusion by claiming that the authors reached the conclusion after conducting “a
 comprehensive summary of all randomized, controlled trials (n = 76) involving the clinical use of
 liposomal bupivacaine when administered to control acute postsurgical pain.” 56 The article’s
 summary of these trials is not comprehensive; instead, it presents little more than the authors’
 subjective characterizations of the studies under review—presented as though they were fact—
 without any systematic method to identify, evaluate, or analyze their results (i.e., using a specific
 methodology to address pre-specified questions). The authors’ inaccurate statements and
 characterizations have the cumulative effect of distorting the truth of the evidence with respect to
 LB.

          As an initial matter, the Ilfeld article suffers from the same principal flaw as the Hussain
 article, applying inappropriate comparisons of divergent studies to support the article’s
 conclusions. Despite acknowledging that the articles under review “are not easily compared,” the
 authors nonetheless make such comparisons, such as grouping and evaluating trials involving
 vastly different surgical procedures—obscuring the important fact that LB’s efficacy varies by
 specific surgical area and technique used.



 55
      Ilfeld at 333.
 56
      Ilfeld at 283 (emphasis added).

                                                   17
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         With the exception of knee-replacement studies, the authors group all other studies only
 by the anesthesia procedure (e.g., direct infiltration of LB versus a placebo, 57 or direct infiltration
 of LB versus a non-liposomal peripheral nerve block 58), rather than by surgical procedure,
 anesthesia procedure, analgesic regimen, and testing protocols. For example, the authors rely on
 16 different trials involving a peripheral nerve block or epidural with LB, though these studies
 evaluated heterogeneous surgical procedures, experimental treatments, and comparison groups,
 including anatomic locations beyond those for which LB is FDA-approved. 59 The authors also
 group together 19 studies involving vastly different surgical procedures—including oral dental
 implant surgery, hemorrhoidectomy, breast augmentation, inguinal hernia repair, orthopedic
 wrist surgery, and total hip arthroplasty, among others. Many of these 19 studies involve
 procedures for which the optimal dose and technique for LB has not yet been identified. In the
 absence of any methodological consistency, the authors still use these results to conclude that
 there is no difference in effectiveness of LB versus a local anesthetic for “procedures other than
 knee arthroplasty.” 60 Much like the Hussain article, these studies should not have been reviewed
 together in the first place, but having done so, the only reasonable conclusion that could be
 drawn from these varied procedures is that there was insufficient evidence from which to draw
 an accurate conclusion. By synthesizing these highly diverse trials and drawing a conclusion
 from that exercise, the authors reach false and misleading conclusions.

         Additionally, the studies that are unfavorable to LB on which the Ilfeld et al. authors rely
 are categorically inferior. The authors are quick to dismiss industry-sponsored studies. 61 Not
 only is that wrong from a methodological perspective, it also excludes superior tests. Here, as a
 general matter, the industry-sponsored studies were much better funded than the independent
 studies, which is important in two key respects. First, the studies were able to undertake the
 labor-intensive and challenging process of collecting data that would allow the researchers to
 account for the additional analgesics (the rescue medication) that the trial patients received. This
 is an important undertaking. Without doing so, a reduced pain score would be incorrectly
 attributed to the study drug and not to opioids or other pain medication provided the patient,
 thereby introducing bias into the findings. Indeed, the European Medicines Agency (EMA), 62 as
 well as the National Research Council (at the request of the FDA), 63 provide recommendations
 on imputation methods to minimize bias. Modern methods, such as multiple imputation, which
 were used in more recent industry-sponsored LB trials, are preferred. The underlying
 independent studies that Ilfeld assesses do not make any effort to impute the missing data.

          Second, the industry-sponsored studies had sufficient resources to control for attrition;
 i.e., study patients were not released from the hospital before data could be collected for the
 primary outcome. Independent studies typically lack the funding to require all patients to remain

 57
    Ilfeld at 285.
 58
    Ilfeld at 310.
 59
    Ilfeld at 319.
 60
    Ilfeld at 290-301.
 61
    Ilfeld at 332-33.
 62
    EMA, Guideline on Missing Data in Confirmatory Clinical Trials, at 9, available at
 https://www.ema.europa.eu/en/documents/scientific-guideline/guideline-missing-data-confirmatory-clinical-
 trials_en.pdf.
 63
    Prevention and Treatment of Missing Data in Clinical Trials at 2, available at https://www.cytel.com/hs-
 fs/hub/1670/file-2411099288-pdf/Pdf/MissingDataNationalAcademyofMedicine.2010.pdf.

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 in the hospital for the primary study period, especially because early discharge has become a
 priority. Therefore, fewer patients remain in the hospital at the later time points, and those who
 require a longer hospital stay likely have different pain or post-surgical recovery conditions than
 those who were able to be discharged earlier. This will likely introduce bias in assessments of
 later time points. One example can be found in the total knee arthroplasty study conducted by
 Suarez et al. 64 One outcome the study looked at was pain and opioid use at 48 hours after
 surgery, however 10% of patients were discharged before that time, and no effort was made to
 impute missing data or collect data from patients after discharge. Nevertheless, Ilfeld et al. only
 cited “some concerns” in their assessment of the risk of study bias. 65

         In addition, in many respects, the authors discredit studies that support the increased
 effectiveness of LB, leading the authors to ignore, dismiss, or obscure evidence or context that
 would refute the article’s false conclusion, while placing undue weight on articles that are critical
 of LB.

         First, the authors seek to discredit the results of the placebo-controlled trials that met the
 qualifications for FDA approval. They criticize those trials for using the “windowed worst
 observation carried forward + last observation carried forward” imputation method for
 accounting for the additional analgesics patients received. As an initial matter, this criticism is
 absurd because the independent, unfavorable LB studies made no effort at all to impute for the
 rescue medication.

         Further, the authors quote, as the basis of their criticism, a perspective published in 2012
 that states, “Single imputation methods like last observation carried forward and baseline
 observation carried forward should not be used as the primary approach to the treatment of
 missing data unless the assumptions that underlie them are scientifically justified.” 66 But this
 reference does not apply. It is referring to single imputation methods, which were not used in any
 of the LB placebo-controlled registration studies, and it does not discuss windowed worst
 observation carried forward. Instead, the placebo trials combined both last observation carried
 forward and worst observation carried forward (a combined, rather than a single imputation
 method) with additional imputations used to conduct sensitivity analyses. This is the a more
 robust imputation approach than what the authors point out and was accepted by the FDA at the


 64
    Suarez JC, Al-Mansoori AA, Kanwar S, Villa JM, McNamara CA, Patel PD. Effectiveness of Novel Adjuncts in
 Pain Management Following Total Knee Arthroplasty: A Randomized Clinical Trial. J Arthroplasty. 2018.
 65
    The authors are particularly (and wrongly) dismissive of the PILLAR study. The authors criticize the study for not
 reporting out all of the pain data, implying that the study was hiding an outcome [Ilfeld at 310]. But the data simply
 was not reported in the publication nor was it requested during the peer review, as it was not pertinent to the primary
 outcomes (which looked to pain in the context of opioid consumption). The PILLAR study reached the remarkable
 conclusion that when LB was compared to an already effective pain multi-modal pain regimen, it still reduced
 opioid consumption 78% over the established regimen. The Ilfeld authors next claim that the PILLAR study
 deviated from the prespecified statistical plan, citing a letter to the editor [id.], but the authors omit that the issue was
 addressed in a published response to that letter. As noted in the response, appropriate tests were applied in the final
 analysis, and as is often the case in clinical trials, the statistical plan was altered during the course of the study,
 before data was unblinded. [Mont MA, et al. Response to Letter to the Editor on “Local Infiltration Analgesia With
 Liposomal Bupivacaine Improves Pain Scores and Reduces Opioid Use After Total Knee Arthroplasty: Results of a
 Randomized Controlled Trial.” J Arthroplasty. 2018; 33(8):2694-5.]
 66
    Ilfeld at 285 (quoting O’Neill RT, Temple R: The prevention and treatment of missing data in clinical trials: An
 FDA perspective on the importance of dealing with it. Clin Pharmacol Ther 2012; 91:550–4).

                                                             19
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 time. 67 Imputations are performed ensure that the predictions are reliable and are standard
 practice when reporting findings to the FDA. Indeed, lead author Brian Ilfeld himself used this
 combined method for an RCT he co-authored that compared LB to a placebo in femoral nerve
 blocks for total knee arthroplasty (knee replacements). Ilfeld’s RCT reported both the imputed
 and non-imputed “area under the curve” pain scores to confirm that findings remained highly
 significant in favor of LB (P=0.0005). 68

         Second, the authors discuss “risk of bias” assessments using the Cochrane bias tool,
 which they state leads to a conclusion that “there is currently no published evidence with a low
 risk of bias for surgical procedures other than knee arthroplasty demonstrating that infiltration
 with the maximum approved liposomal bupivacaine dose is superior to unencapsulated
 bupivacaine to a statistically and clinically significant degree.” 69 Notably, the Cochrane bias tool
 explicitly excludes industry funding as a measure of potential bias, in part because industry-
 funded trials often produce some of the better designed studies. Accordingly, the source of study
 funding should have been irrelevant to the authors’ evaluations of the studies. Despite this
 exclusion, the authors impute their own measure of bias to undermine the validity of studies
 otherwise supportive of the effectiveness of LB, stating that LB was most often found superior in
 studies “with a conflict —including funding from the manufacturer, as well as funding of authors
 concurrently being paid as consultants and/or employees.” 70

          Third, the authors contend that a high risk of bias was present in a study supporting LB
 whenever there was a difference between the primary outcome provided in the clinicaltrials.gov
 registry entry versus the outcome identified in the published manuscript. The authors do not
 address published explanations for the cause of such differences, 71 presenting a one-sided view
 that fails to meet the “comprehensive” summary claimed by the authors. Yet even when Ilfeld et
 al. chose to disregard the primary outcomes of the studies supporting the effectiveness of LB due
 to “risk of bias,” the authors had no issue setting these concerns aside to conclude that the
 secondary outcomes of the same set of studies demonstrated that local anesthetics are superior to
 LB. 72

         Fourth, the Ilfeld authors assert that LB-favorable studies provided sub-maximal doses
 of bupivacaine as a control. The authors must know that this is not a legitimate criticism.
 Regardless of the dose given, when given as a single dose, plain bupivacaine confers a benefit
 only in the early postoperative period, while LB provides analgesia for an extended period after
 surgery. The short duration of bupivacaine is generally bridged by other medications to provide
 pain relief further out from the surgery. Thus, the authors are comparing apples to oranges when
 looking at the pain medication dosage intended for immediate postoperative relief to the dosage
 meant for multiple days after surgery. Additionally, there is no standard dosing established for
 67
    Ilfeld at 285.
 68
    Hadzic A, Minkowitz HS, Melson TI, Berkowitz R, Uskova A, Ringold F, et al. Liposome Bupivacaine Femoral
 Nerve Block for Postsurgical Analgesia after Total Knee Arthroplasty. Anesthesiology. 2016;124(6):1372-83.
 69
    Ilfeld at 301.
 70
    Ilfeld at 333.
 71
    See, e.g., Mont MA, et al. Response to Letter to the Editor on “Local Infiltration Analgesia With Liposomal
 Bupivacaine Improves Pain Scores and Reduces Opioid Use After Total Knee Arthroplasty: Results of a
 Randomized Controlled Trial.” J Arthroplasty. 2018; 33(8):2694-5.
 72
    See, e.g., Ilfeld at 310-11 (“Secondary outcomes allow a comparison of liposomal bupivacaine infiltration and
 peripheral nerve blocks.”).

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 bupivacaine for many surgical procedures. For example, in trials related to a total knee
 arthroplasty (“TKA”) (total knee replacement) (like the PILLAR study), the following varied
 doses and other mixtures were used: 266 mg LB plus epinephrine to 50 mg bupivacaine plus
 epinephrine; 73 266 mg LB plus 75 mg bupivacaine to 150 mg bupivacaine alone; 74 266 mg LB
 alone to 75 mg bupivacaine plus epinephrine and morphine; 75 266 mg LB plus 75 mg
 bupivacaine to 75 mg bupivacaine plus lidocaine, epinephrine, morphine, and ketorolac; 76 and
 266 mg LB alone to 100 mg bupivacaine. 77 In addition, the authors acknowledge that the dose of
 ropivacaine was adequate in the TKA study by Snyder et al., which also had a low risk of bias,
 and positive findings in favor of LB, 78 thereby contradicting their own assessment.

         Fifth, while the authors provide extended discussion of the quality of studies supporting
 LB, they fail to do the same for the studies that do not support LB. Instead, the authors give more
 weight to studies with findings against LB and remain silent about their flaws. For example, they
 describe the Danoff et al. TKA study, which used patients as their own controls by using LB for
 a knee replacement on one knee and bupivacaine for a replacement of the second knee, as “a
 unique and illuminating investigation” with an “especially powerful” design (p. 301). 79 But the
 Ilfeld authors fail to acknowledge major methodologic flaws, including lack of allocation
 concealment, lack of blinding of the surgeon, lack of data on the percent of patient data available
 at each time point, and selective reporting, all of which can introduce significant bias. 80

         In addition, the Ilfeld authors identified the following TKA studies as a low risk of bias
 or as only having “some concerns,” when, in fact, many have large flaws that can introduce
 significant bias:




 73
    Alijanipour P, Tan TL, Matthews CN, et al. Periarticular Injection of Liposomal Bupivacaine Offers No Benefit
 Over Standard Bupivacaine in Total Knee Arthroplasty: A Prospective, Randomized, Controlled Trial. The Journal
 of Arthroplasty. 2017;32(2):628-634.
 74
    Schroer WC, Diesfeld PG, LeMarr AR, Morton DJ, Reedy ME. Does Extended-Release Liposomal Bupivacaine
 Better Control Pain Than Bupivacaine After TKA? A Prospective, Randomized Clinical Trial. J Arthroplasty.
 2015;30(9):64-67.
 75
    Jain RK, Porat MD, Klingenstein GG, Reid JJ, Post RE, Schoifet SD. Liposomal Bupivacaine and Periarticular
 Injection Are Not Superior to Single-Shot Intra-articular Injection for Pain Control in Total Knee Arthroplasty. J
 Arthroplasty. 2016;31(9):22-25.
 76
    Suarez JC, Al-Mansoori AA, Kanwar S, Villa JM, McNamara CA, Patel PD. Effectiveness of Novel Adjuncts in
 Pain Management Following Total Knee Arthroplasty: A Randomized Clinical Trial. J Arthroplasty. 2018.
 77
    Zlotnicki JP, Hamlin BR, Plakseychuk AY, Levison TJ, Rothenberger SD, Urish KL. Liposomal Bupivacaine vs
 Plain Bupivacaine in Periarticular Injection for Control of Pain and Early Motion in Total Knee Arthroplasty: A
 Randomized, Prospective Study. J Arthroplasty. 2018;33(8):2460-2464.
 78
    Snyder MA, Scheuerman CM, Gregg JL, Ruhnke CJ, Eten K. Improving total knee arthroplasty perioperative pain
 management using a periarticular injection with bupivacaine liposomal suspension. Arthroplasty Today. 2016;
 2(1):37-42.
 79
    Ilfeld at 301.
 80
    Danoff JR, Goel R, Henderson RA, Fraser J, Sharkey PF. Periarticular Ropivacaine Cocktail Is Equivalent to
 Liposomal Bupivacaine Cocktail in Bilateral Total Knee Arthroplasty. J Arthroplasty. 2018; 33(8):2455-2459.

                                                        21
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                                  Table 4. Bias Risk Assessment of TKA Studies
       Author, Year,    Ilfeld Risk of Bias   Risk of Bias Assessment
       Procedure, N     Assessment            (Ꚛ not flawed; Ө possibly flawed; Ө flawed)
       Schroer 2015     Some concerns         Ө Randomization
       Unilateral TKA                         Ө Allocation concealment
       N=111 81                               Ꚛ Blinding
                                              Ө Attrition bias? Study period not defined, no data on % available at each time point
                                              Ө Selective reporting: opioid units not reported
       Collins 2016     Some concerns         Ө Randomization not described
       Primary                                Ө Allocation concealment
       unilateral TKA                         Ө Blinding (nurses randomizing and assessing)
       N=105 82                               Ө Attrition bias? Study period not defined, no data on % available at each time point
                                              Ө Selective reporting: not all outcomes reported
       Jain 2016        Low                   Ꚛ Randomization
       Unilateral TKA                         Ө Allocation concealment
       N=207 83                               Ө Blinding (surgeons collected data)
                                              Ө Attrition bias? Study period not defined, no data on % available at each time point, but
                                              mean is <2 d
                                              Ө Selective reporting: pain assessment methods not described, all data collected from
                                              medical records
       Schwarzkopf      Low                   Ө Randomization not described
       2016                                   Ө Allocation concealment not described, surgeon not blinded
       Primary                                Ꚛ Blinding
       unilateral TKA                         Ө Selective reporting: not all data reported, pain assessment methods not described – all
       N=38 84                                data collected via clinical assessment records
                                              Ө Attrition bias? Study period not defined; no data on % available at each time point
       Barrington       Low                   Ꚛ Randomization
       2017                                   Ө Allocation concealment
       Primary                                Ө Blinding of participants/personnel – study coordinator not blinded
       unilateral TKA                         Ꚛ Attrition bias
       N=119 85                               Ꚛ Selective reporting
       DeClaire 2017    Low                   Ꚛ Randomization
       Unilateral TKA                         Ꚛ Allocation concealment
       N=96 86                                Ꚛ Blinding
                                              Ө Pain assessment methodology not described and incomplete reporting of outcomes
                                              (Selective reporting bias)
                                              Ө Attrition bias?: % followed through 48 hrs not reported
                                              Ө Potential underpowering of results (incomplete recruitment)




 81
    Schroer WC, Diesfeld PG, LeMarr AR, Morton DJ, Reedy ME. Does Extended-Release Liposomal Bupivacaine
 Better Control Pain Than Bupivacaine After TKA? A Prospective, Randomized Clinical Trial. J Arthroplasty. 2015;
 30(9):64-67
 82
    Collis PN, Hunter AM, Vaughn MDD, Carreon LY, Huang J, Malkani AL. Periarticular Injection After Total
 Knee Arthroplasty Using Liposomal Bupivacaine vs a Modified Ranawat Suspension: A Prospective, Randomized
 Study. The Journal of Arthroplasty. 2016; 31(3):633-636.
 83
    Jain RK, Porat MD, Klingenstein GG, Reid JJ, Post RE, Schoifet SD. Liposomal Bupivacaine and Periarticular
 Injection Are Not Superior to Single-Shot Intra-articular Injection for Pain Control in Total Knee Arthroplasty. J
 Arthroplasty. 2016; 31(9):22-25.
 84
    Schwarzkopf R, Drexler M, Ma MW, et al. Is There a Benefit for Liposomal Bupivacaine Compared to a
 Traditional Periarticular Injection in Total Knee Arthroplasty Patients With a History of Chronic Opioid Use?
 Journal of Arthroplasty. 2016; 31(8):1702-1705.
 85
    Barrington JW, Emerson RH, Lovald ST, Lombardi AV, Berend KR. No Difference in Early Analgesia Between
 Liposomal Bupivacaine Injection and Intrathecal Morphine After TKA. Clin Orthop Relat Res. 2017; 475(1):94-
 105.
 86
    DeClaire JH, Aiello PM, Warritay O, Freeman DC. Effectiveness of Bupivacaine Liposome Injectable Suspension
 for Postoperative Pain Control in Total Knee Arthroplasty: A Prospective, Randomized, Double Blind, Controlled
 study. The Journal of Arthroplasty. 2017;3 2(9):S268-S271.

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       Author, Year,    Ilfeld Risk of Bias   Risk of Bias Assessment
       Procedure, N     Assessment            (Ꚛ not flawed; Ө possibly flawed; Ө flawed)
       Danoff 2018      Some concerns         Ꚛ Randomization
       Bilateral TKA                          Ө Allocation concealment –per surgeon’s protocol
       and                                    Ө Blinding – data captured by clinical chart review, surgeon not blinded
       unicompart-                            Ө Attrition bias? no data on % available at each time point
       mental knee                            Ө Selective reporting: not all data reported, all data collected via clinical assessment
       arthroplasty                           records
       N=52 87
       Suarez 2018      Some concerns         Ꚛ Randomization
       Unilateral TKA                         Ө Allocation concealment – not described
       N=156 88                               Ө Blinding - single blinded
                                              Ө Attrition bias – 10% discharged before end of primary study period
                                              Ꚛ Selective reporting
       Zlotnicki 2018   Some concerns         Ө Randomization method not described
       Primary                                Ө Blinding method not described
       unilateral TKA                         Ө Allocation concealment – drug prepared in OR
       N=80 89                                Ө Attrition bias? no data on % available at each time point
                                              Ө Selective reporting: differences in baseline characteristics, not all data reported, all
                                              data collected via clinical assessment records, pain assessments not described; no power
                                              analysis was performed
       Schumer 2019     Low                   Ө Randomization method not described
       Primary                                Ө Allocation concealment – not described
       unilateral TKA                         Ө Blinding - single blinded, blinding method not described
       N=195 90                               Ө Attrition bias? no data on % available at each time point
                                              Ө Selective reporting: not all data reported, all data collected via clinical assessment
                                              records, pain assessments not described; no power analysis was performed
       Hyland 2019      Low                   Ө Randomization method not described
       Unilateral TKA                         Ө Allocation concealment – revealed after consent
       N=59 91                                Ө Blinding – single blinded, blinding method not described
                                              Ꚛ Attrition bias
                                              Ө Selective reporting: all data collected via clinical records, no information on for
                                              assessment standards



        In fact, the TKA studies with the lowest risk of bias, (i.e., the highest quality studies) are
 favorable to LB.

         Finally, the authors fail to specifically call out studies that compare LB single
 administration to a continuous infiltration of short-acting local anesthetic. Continuous infiltration
 of a plain local anesthetic is a more appropriate comparator to LB as it can provide analgesia for
 a similar duration as LB. Five RCTs are described below that show comparable to superior
 findings of LB compared to continuous infiltration of plain local anesthetics.



 87
    Danoff JR, Goel R, Henderson RA, Fraser J, Sharkey PF. Periarticular Ropivacaine Cocktail Is Equivalent to
 Liposomal Bupivacaine Cocktail in Bilateral Total Knee Arthroplasty. J Arthroplasty. 2018; 33(8):2455-2459.
 88
    Suarez JC, Al-Mansoori AA, Kanwar S, Villa JM, McNamara CA, Patel PD. Effectiveness of Novel Adjuncts in
 Pain Management Following Total Knee Arthroplasty: A Randomized Clinical Trial. J Arthroplasty. 2018.
 89
    Zlotnicki JP, Hamlin BR, Plakseychuk AY, Levison TJ, Rothenberger SD, Urish KL. Liposomal Bupivacaine vs
 Plain Bupivacaine in Periarticular Injection for Control of Pain and Early Motion in Total Knee Arthroplasty: A
 Randomized, Prospective Study. J Arthroplasty. 2018; 33(8):2460-2464.
 90
    Schumer G, Mann JW, 3rd, Stover MD, Sloboda JF, Cdebaca CS, Woods GM. Liposomal Bupivacaine Utilization
 in Total Knee Replacement Does Not Decrease Length of Hospital Stay. J Knee Surg. 2019;32(9):934-939.
 91
    Hyland SJ, Deliberato DG, Fada RA, Romanelli MJ, Collins CL, Wasielewski RC. Liposomal Bupivacaine
 Versus Standard Periarticular Injection in Total Knee Arthroplasty With Regional Anesthesia: A Prospective
 Randomized Controlled Trial. J Arthroplasty. 2019; 34(3):488-494.

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       Table 5. Excluded LB Single-Administration vs. Continuous Infiltration of Local
                                       Anesthetic

  Procedure         Study Design                 Results
  Open              Yalamanchili et al           •   52% less opioid consumption vs PCA alone through
  Laparotomy        2019 92                          postoperative day (POD) 3 (101 vs. 210 MME, P<0.001)
                    Double-blinded RCT           •   43% less opioid consumption than continuous bupivacaine +
                    Local infiltration LB +          PCA through POD3 (101 vs. 178 MME, P<0.001)
                    PCA vs continuous            •   Significantly less pain reported on POD1 and POD3 vs both
                    bupivacaine infiltration +       groups (P<0.005)
                    PCA vs. PCA alone            •   Significantly lower incidence of nausea and vomiting (10%
                    (N=100)                          vs. 24% continuous bupivacaine, and vs. 39% PCA only,
                                                     P=0.001)
                                                 • Comparable hospital stay
  Abdominal         Shaker et al 2018 93         • 69% less opioid consumption overall with comparable pain
  oncologic         Open-label RCT                   control through POD 3
  surgery           LB TAP vs.                         o POD0: 36.3 vs 112.8 MME, P<0.001
                    epidural (N=67)                    o POD1: 33 vs 120.2 MME, P<0.001
                                                       o POD2: 24.5 vs 84.2 MME, P=0.001
                                                       o POD3: 21.3 vs 60 MME , P=0.001
                                                 • Fewer episodes of hypotension through POD1 (0.6 vs 3,
                                                     P=0.02)
  Colorectal        Torgeson et al 2018 94       • Shorter hospital stay (3.3 vs 2.8 days P=0.023)
  Procedures        Nonblinded RCT               • Comparable time to flatus
                    LB TAP vs. epidural          • Comparable nausea and vomiting
                    (N=83)
  Colorectal        Felling et al 2018 95        •   52% less opioid consumption (98.29 vs 206.84 MME,
  Procedures        Open-label RCT                   P<0.001)
                    LB TAP vs.                         o POD0: 54.64 vs. 80.28 MME, P=0.02
                    epidural (N=179)                   o POD1: 13.34 vs. 71.0 MME, P<0.001
                                                       o POD2: 2.61 vs. 3.11 MME, P=0.726
                                                       o POD3: 0.22 vs. 0.34 MME , P=0.1418
                                                 •   Similar reported pain, time to GI function, hospital stay, and
                                                     postoperative complications
                                                 •   $357 cost savings per patient




 92
    Yalamanchili H, Thorns J, Buchanan S, McKenzie N, Reiss A, Price P, et al. Post laparotomy pain management:
 Patient controlled analgesia pump alone versus adjunctive continuous subcutaneous bupivacaine infusion or
 injection of liposomal bupivacaine suspension. Journal of Opioid Management. 2019; 15(2): 169-175.
 93
    Shaker TM, Carroll JT, Chung MH, Koehler TJ, Lane BR, Wolf AM, et al. Efficacy and safety of transversus
 abdominis plane blocks versus thoracic epidural anesthesia in patients undergoing major abdominal oncologic
 resections: A prospective, randomized controlled trial. American Journal of Surgery. 2018;215(3):498-501.
 94
    Torgeson M, Kileny J, Pfeifer C, Narkiewicz L, Obi S. Conventional Epidural vs Transversus Abdominis Plane
 Block with Liposomal Bupivacaine: A Randomized Trial in Colorectal Surgery. J Am Coll Surg. 2018; 227(1):78-
 83.
 95
    Felling DR, Jackson MW, Ferraro J, Battaglia MA, Albright JJ, Wu J, et al. Liposomal Bupivacaine Transversus
 Abdominis Plane Block Versus Epidural Analgesia in a Colon and Rectal Surgery Enhanced Recovery Pathway: A
 Randomized Clinical Trial. Dis Colon Rectum. 2018; 61(10):1196-204.

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  Abdominal          Gatherwright et al          •    49% less total opioid use vs. single administration
  based              2018 96                          bupivacaine TAP through 72 hrs (40.9 vs 79.9 MME,
  unilateral         Blinded RCT                      P=0.002)
  breast             LB TAP vs. Bupivacaine      •    23% less total opioid use vs. continuous bupivacaine TAP
  reconstruction     TAP vs. Continuous               through 72 hrs (40.9 vs 53.2 MME, P<0.001)
                     bupivacaine TAP vs.         •    58% less total opioid use vs. controls through 72 hrs (40.9 vs
                     Historical control (N=27)        97.6 MME, P=0.006)
                                                 •    Similar pain scores across groups
                                                 •    Similar hospital stay across all groups (3.7 days)



 This table shows that LB is effective compared to continuous infiltration of bupivacaine,
 especially with respect to reduced opioid consumption.

         For these reasons, the authors of the Ilfeld narrative review represents the authors’ biased,
 slanted, and misleading views about LB, masquerading as scientific facts.

         C.        The Conclusions of the McCann Editorial Are False.

         In addition to the above articles, the editors of Anesthesiology invited publication of a
 guest editorial addressing the same subject as the Hussain and Ilfeld articles. The editorial,
 written by Dr. Mary Ellen McCann, reiterates and adopts the deeply flawed methodology and
 false conclusions of the Hussain and Ilfeld articles, while utilizing a similarly biased presentation
 of the evidence. Rather than provide an independent and unbiased review of the evidence, the
 McCann article is structured to support a false narrative that impugns the actions and motives of
 Pacira Biosciences and thousands of physicians who have used LB in patient care: that despite
 published studies supporting LB’s effectiveness, the only reason this new, non-opioid treatment
 for pain is used by clinicians is the manufacturer’s research, education, and consulting
 arrangements with physicians.

          The McCann article first undermines, without justification, the results of studies in which
 LB was found to be superior to bupivacaine. For instance, despite acknowledging that the
 Cochrane Risk of Bias tool used by both Ilfeld and Hussain does not measure conflicts of interest
 by industry funding, McCann immediately implies that such funding creates bias, noting that LB
 was superior to comparators in 46% of trials with direct funding or financial support for the
 authors by the manufacturer of LB but was found superior in only 11% of the “nonconflicted”
 trials. No other explanation or evaluation of these different studies is provided; only a statement
 that this fact is “not surprising.”

         To continue the narrative, McCann selectively identifies additional subgroups of studies
 or analyses that support the effectiveness or superiority of LB, and then consistently dismisses
 the results by implying they are tainted by conflict or bias—even when no such bias was
 identified in the underlying analysis. For example, in the discussion of the Ilfeld review, the
 McCann article notes that of a group of 28 trials, 43% (n=12) showed superiority of LB. Rather

 96
   Gatherwright J, Knackstedt R, Ghaznavi A, Bernard S, Schwarz G, Moreira A, et al. Prospective, Randomized,
 Controlled Comparison of Local Anesthetic Infusion Pump versus DepoFoam Bupivacaine For Pain Management
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 than discuss these study results or the procedures, McCann’s next statement is that 82% of the 28
 trials (n=23) showed “high risk or some concerns for bias.” McCann does not discuss whether
 any of the 12 studies showing superiority of LB were outside the group of 23 studies showing a
 high risk or some concern or bias. The article ignores the Cochrane standards for methodologic
 bias. She instead leaves the reader only with the implication that studies favorable to LB were
 biased, and the false conclusion of the Ilfeld article that “the preponderance of current evidence
 fails to support the routine use of liposomal bupivacaine over standard local anesthetics when
 treating postoperative pain.” 97

         Also note that the McCann and Ilfeld articles suggest LB has an unusually high number
 of Pacira-funded studies, 98 when in fact this is typical of a non-generic product, as the cost to
 conduct a quality study is high and not likely to be funded by other entities. The Cochrane
 handbook notes: “Industry funding is common, especially in drug trials. In a study of 200 trial
 publications from 2015, 68 (38%) of 178 trials with funding declarations were industry funded
 (Hakoum et al 2017 99). Also, in a cohort of oncology drug trials, industry funded 44% of trials
 and authors declared conflicts of interest in 69% of trials (Riechelmann et al. 2007 100).” 101

         Each of the separate mischaracterizations and falsehoods serves to undermine or dismiss
 the accumulated evidence demonstrating the effectiveness of LB and its superiority over non-
 liposomal bupivacaine documented in multiple studies. These mischaracterizations culminate in
 the final unsupported and false allegation by Dr. McCann: that the use of LB by hospitals and
 licensed physicians over the prior eight years is due in sole or large part to an “aggressive and
 powerful marketing strategy” by Pacira Biosciences. In fact, the use of LB goes far beyond
 Pacira’s marketing efforts into novel areas, as demonstrated by the broad range of procedural
 areas for which it is used. The implied causal relationship between the manufacturer’s total
 expenditures on research and other services provided by physicians from 2013 to 2019, and the
 increased sales of LB during this time, defames the character of the manufacturer and the
 motives of all of the healthcare providers that chose to use LB in the treatment of their patients.
 This final and most egregious implication by McCann is unsupported by any evidence linking
 the appropriate public disclosures made by the manufacturer and the independent clinical
 decisions of these healthcare providers to use LB.




 April 14, 2021                                                ______________________________
                                                               Mary DiGiorgi, M.P.H., Ph.D


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                                         APPENDIX I

 Methods for selecting head-to-head studies:
 An automated search of the MEDLINE/PubMed database, and EMBASE database has been
 established to retrieve all EXPAREL studies utilizing the following search terms: “bupivacaine
 AND depofoam OR (bupivacaine AND liposom*) OR (bupivacaine AND multivesicul*) OR
 (bupivacaine AND extend* AND release) OR (bupivacaine AND pacira) OR depobupivacaine
 OR exparel OR ‘bupivacaine liposome injectable suspension’”. Those meeting the criteria
 outlined below are included in the evidence summary.

 Selection Criteria

    Studies included:
    • Randomized controlled trials (RCTs) or observational studies (Obs) comparing LB to
       single or continuous administration (via catheter) of an immediate release local anesthetic
       (eg bupivacaine, ropivacaine, lidocaine) for local/regional analgesia
    • Studies reporting at least one of the following outcomes: postoperative pain, opioid
       consumption, hospital stay/discharge, function
    • Studies published in a peer reviewed journal between January 1, 2011 through February
       28, 2021

    Excluded:
    • Studies which compared LB to placebo or non-regional anesthesia modalities (eg systemic
       oral or IV analgesics alone)
    • Studies which evaluated LB in combination with other interventions (eg an enhanced
       recovery protocol vs traditional recovery protocol)
    • Studies in animals
    • Studies in healthy volunteers
    • Case reports or series
    • Abstracts or posters




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                                        APPENDIX II

 Citations for head-to-head studies

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                                 Exhibit A
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RELEVANT PROFESSIONAL EXPERIENCE

Pacira Pharmaceuticals, Parsippany, NJ
Vice President, Medical Science                                                                  February 2020 - Present

   Lead the process to establish a robust medical information, medical communications, publications and health
    outcome and value assessment plans alongside all other internal key cross-functional partners
   Provide scientific support to business units and Learning and Development team as subject matter expert on Pacira
    products and clinical context
   Provide scientific strategic input for the elaboration of the Brand Plans and ensure execution of the Medical Strategy
   Plan and oversee Health Outcomes and Value Assessment programs according to product life cycle management
   Lead the development of the publication, and medical communication strategy
   Provide scientific leadership to the commercial teams to assist in the development and execution of scientifically
    sound and compliant commercial activities
   Provide input into the design and execution of corporate-sponsored clinical studies and lead the external research
    program
   Maintain strong relationships with thought leaders to identify new medical opportunities for existing or new
    corporate products and to pursue new indications

Executive Director, Medical Science                                                        June 2019 – February 2020
 Provided strategic vision, leadership, and management of scientific communication and independent research
   activities, with a primary focus on publications and medical communication which consists of assimilating all
   relevant scientific information and development of creative ways of information dissemination
 Directed medical information team with a focus on providing scientifically sound and relevant information to
   external stakeholders, including standard medical information response documents, custom formulary support
   materials and materials used by Field Medical teams
 Acted as lead for the Grants Committee and provided advisement for investigators seeking research guidance
 Provided scientific expertise into product marketing strategies, and health outcomes research strategies
 Partnered with the Medical Division organization to support strategy, design and execution of Phase 4 company
   sponsored studies
 Contributed to the strategy and review Learning and Development training content in compliance with internal
   process
 Provided medical support to Drug Safety for any product alerts in the US
 Oversaw evaluation of data gaps and provide support to the processes related to Investigator Initiated Studies
 Collaborated with cross functional teams to provide intel on publications/presentations related to Pacira products,
   relevant therapeutic areas, and competitive space

Senior Director, Scientific Communications                                                     January 2017 - June 2019
 Lead strategy and execution of medical information, scientific publications and scientific communications for both
    internal and external stakeholders, including publications, medical communication, education and medical
    information
 Contributed to the development and review of sponsored and supported research protocols, manuscripts, and
    continuous quality improvement projects, alongside Clinical Operations and Health Outcomes and Value Assessment
    team
 Contributed to the development of the Medical Affairs and Health Outcomes and Value Assessment strategy and
    tactical plan to ensure quality of data and consistency in messaging
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   Supported sNDA filing for nerve block indication of EXPAREL and acted as triage lead for the FDA Meeting of the
    Anesthetic and Analgesic Drug Products Advisory Committee for the supplemental new drug application for EXPAREL
    (bupivacaine liposomal injectable suspension)
   Participated meetings alongside Pacira leaders to inform the Opioid Commission lead by Governor Christie

Associate Director, Health Outcomes and Value Assessment                                      March 2016 – January 2017
 Developed deliverables to communicate economic and clinical value and disease burden to external stakeholders,
   including patients, physicians, and payers, and providing training for internal stakeholders to utilize tools developed.
 Designed and implemented outcomes studies that established the value of EXPAREL for formulary review and/or
   presentation at scientific meetings and/or publication in peer-reviewed journals
 Collaborated with statisticians on the analysis of outcomes data using clinical trial and administrative databases
 Acted as scientific advisor in development of research registries and a mobile app for outcomes data capture used
   by clinicians and patients

Columbia University, New York, NY                                                                  July 2012 – July 2016
Assistant Professor of Surgery
Associate Director, Medical Nutrition Program for Health Professionals, Institute of Human Nutrition
 Led the development of a novel medical nutrition program for health professionals, which started as a certification
    program / CME activity and expanded to an executive master’s degree program, with a focus on clinically applied
    biochemistry, growth and development, clinical nutrition, evidence-based medical nutrition management, patient
    centered care, and clinical research methodology.
 Planned the program curriculum, collaborated with faculty to develop courses and assessments, provided student
    advisement, thesis mentorship and strategic direction for recruitment efforts, and development of marketing
    materials.
 Developed CME courses in nutrition and oversaw accreditation process, student recruitment activities, and program
    budget.
 Collaborated on the development and implementation of faculty and program evaluations with input from peer
    faculty, program directors, and other stakeholders.
 Directed/taught courses in: Epidemiology, Readings in Human Nutrition, Behavior Counseling, Obesity, Medical
    Nutrition Management and Clinical Nutrition courses in the health professional as well as the masters of nutrition
    program.
 Collaborated with the American Board of Obesity Medicine to transform the obesity course into an intensive 5 day
    course which includes lectures from experts on the etiology, prevention and treatment as well as a review for the
    American Board of Obesity Medicine (ABOM) exam.

Clinical Research Director, Department of Surgery                                                       July 2008 – July 2014
 Provided strategic direction and oversaw all clinical research activities and clinical trials of the adult bariatric surgery
    section, including preparation for site qualification, site initiation, and monitoring visits and execution of sponsored
    clinical trials (>$1.5M budget), research budgeting and billing, review of CRFs and development of ICFs, subject
    recruitment, data management, and hiring and management of support staff.
 Collaborated with internal and external resources and investigators to enhance patient recruitment, trial plan
    optimization and execution of studies.
 Reviewed and maintained multiple levels of research documentation per regulatory and institutional requirements
    (NDAs, clinical investigator agreements, financial disclosure certification, IRB submissions, IDE reports for FDA
    submission, NGS requests, educational materials, financial reports, logs and CRFs, etc).
 Designed, planned and conducted independent research projects including development of study protocols and
    corresponding documentation for IRB approval and execution of study (ICFs, CRFs, etc)
 Conducted literature searches and prepared manuscripts for publication in peer reviewed journals.
 Analyzed data and prepared/presented findings for publication in professional journals and presentation at national
    conferences.
 Ensured congruence of data collection tools with source data and study protocols
 Oversaw design, programming, and management of clinical registry across all practice sites, including interface with
    multi-center bariatric database, and ensured congruence with accreditation requirements.
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   Provided nutrition counselling for research subjects enrolled in clinical trials.
   Provided intensive emergency direction on a limited budget to successfully prepare the Center for Adolescent
    Bariatric Surgery for an FDA audit of their large, multi-departmental, five-year adjustable banding trial, which had
    not previously been staffed with research personnel.

EDUCATION

Columbia University, Graduate School of Arts and Sciences
Ph.D. in Nutritional Epidemiology and Behavioral Nutrition - 2012

Columbia University, Mailman School of Public Health
M.P.H in Epidemiology - 2007

Columbia University, Graduate School of Arts and Sciences
M.S. in Human Nutrition - 2007

Barnard College, Columbia University
B.A.; Major in English, Minor in Psychology, Pre-Medical Concentration – 1997

PROFESSIONAL ORGANIZATIONS AND COMMITTEES

   Certified Medical Publication Professional (CMPP) by the International Society of Medical Publication Professionals
    2017- present
   New York Academy of Medicine - Fellow since 2014 (lead role in developing workshops for translating evidence-
    based nutrition guidelines for patient care in the Clinical Nutrition Section)
   Columbia College of Physicians and Surgeons Nutrition and Healthy Lifestyle Steering Committee, 2014 - 2016
   Board for Certification of Nutrition Specialists Examination Development Committee, 2014 - 2016
   American Society for Nutrition - Member since 2010
   The Obesity Society - Member since 2010
   American Society for Metabolic and Bariatric Surgery - Member since 2010
   New York Academy of Sciences - Member since 2010

PUBLICATIONS

1. Zitsman JL, DiGiorgi MF, Zhang AZ, Kopchinski JS, Sysko R, Devlin MJ, Fennoy I. Adolescent Gastric Banding: a 5-Year
   Longitudinal Study. Obesity Surgery. 2020 Mar;30(3):828-836.

2. Amin NH, DiGiorgi M, Favorito PJ. Letter to the Editor regarding Kolade et al: “Efficacy of liposomal bupivacaine in
   shoulder surgery: a systematic review and meta-analysis". Journal of Shoulder and Elbow Surgery. 2020
   May;29(5):e211-e212.

3. DiGiorgi M, Carangelo M, Scranton R. Transversus Abdominis Plane Blocks with Single-Dose Liposomal Bupivacaine
   in Conjunction with a Nonnarcotic Pain Regimen Help Reduce Length of Stay following Abdominally Based
   Microsurgical Breast Reconstruction. Plastic Reconstructive Surgery. 2018 Jul;142(1):94e.

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   gastric banding (LAGB): prospective results in 137 patients followed for 3 years. Surgery for Obesity and Related
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5. Zitsman J, DiGiorgi M, Marr JR, Witt MA, Bessler M. Comparative outcomes of laparoscopic adjustable gastric
   banding (LAGB) in adolescents and adults. Surgery for Obesity and Related Diseases. 2011 Nov-Dec;7(6):720-6.
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6. Choi J, DiGiorgi M, Milone L, Schrope B, Olivera-Rivera L, Daud A, Davis D, Bessler M. Outcomes of laparoscopic
   adjustable gastric banding in patients with low body mass index. Surgery for Obesity and Related Diseases. 2010 Jul-
   Aug;6(4):367-71.

7. Bessler M, Daud A, DiGiorgi MF, Inabnet WB, Schrope B, Olivero-Rivera L, Davis D. Adjustable gastric banding as
   revisional bariatric procedure after failed gastric bypass--intermediate results. Surgery for Obesity and Related
   Diseases. 2010 Jan-Feb;6(1):31-5.

8. DiGiorgi M, Rosen DJ, Choi J, Milone L, Schrope B, Olivero-Rivera L, Restuccia N, Urban-Skuro MC, Inabnet WB,
   Bessler M. Reemergence of Diabetes After Gastric Bypass in Patients with Mid to Long-Term Follow-Up. Surgery for
   Obesity and Related Diseases. 2010 May-Jun;6(3):249-53.

9. Harari A, Allendorf J, Shifrin A, DiGiorgi M, Inabnet WB. Negative preoperative localization leads to greater resource
   utilization in the era of minimally invasive parathyroidectomy. American Journal of Surgery. 2009 Jun;197(6):769-73.

10. Bessler M, Daud A, DiGiorgi MF, Schrope BA, Inabnet WB, Davis DG. Frequency distribution of weight loss
    percentage after gastric bypass and adjustable gastric banding. Surgery for Obesity and Related Diseases. 2008 Jul-
    Aug;4(4):486-91.

11. DiGiorgi M, Daud A, Inabnet W, Schrope B, Urban-Skuro M, Restuccia N, Bessler M. Markers of bone and calcium
    metabolism following gastric bypass and laparoscopic adjustable gastric banding. Obesity Surgery. 2008
    Sep;18(9):1144-8.

12. Allendorf JA, Lauerman M, Bill A, DiGiorgi M, Goetz N, Vakiani E, Remotti H, Schrope B, Sherman W, Hall M, Fine RL,
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    Adenocarcinoma: Feasibility, Efficacy, and Survival. Journal of Gastrointestinal Surgery. 2008 Jan;12(1):91-100.

13. Allendorf J, DiGiorgi M, Spanknebel K, Inabnet W, Chabot J, LoGerfo P. 1112 consecutive bilateral neck explorations
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14. Bessler M, Daud A, Kim T, DiGiorgi M. Prospective randomized trial of banded versus nonbanded gastric bypass for
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15. Lew JI, Daud A, DiGiorgi M, Olivero-Rivera L, Davis DG, Bessler M. Preoperative esophageal manometry and
    outcome of laparoscopic adjustable silicone gastric banding. Surgical Endoscopy. 2006 Aug;20(8):1242-7.

16. Spanknebel K, Chabot JA, DiGiorgi M, Cheung K, Curty J, Allendorf J, LoGerfo P. Thyroidectomy using monitored
    local or conventional general anesthesia: an analysis of outpatient surgery, outcome and cost in 1,194 consecutive
    cases. World Journal of Surgery. 2006 May;30(5):813-24.

17. Kim TH, Daud A, Ude AO, DiGiorgi M, Olivero-Rivera L, Schrope B, Davis D, Inabnet WB, Bessler M. Early U.S.
    outcomes of laparoscopic gastric bypass versus laparoscopic adjustable silicone gastric banding for morbid obesity.
    Surgical Endoscopy. 2006 Feb;20(2):202-9.

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    procedure after failed gastric bypass. Obesity Surgery. 2005 Nov-Dec;15(10):1443-8.

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1. M Bessler, D Davis, B Schrope, A Ude, N Restuccia, M Urban-Skuro, M DiGiorgi, "Surgical treatment of severe
   obesity: patient selection and screening, surgical options, and nutritional management," in Textbook of Obesity:
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ABSTRACT AND POSTER PRESENTATIONS

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   efficacy and childhood dieting may predict weight regain following bariatric surgery. The Obesity Society, Los
   Angeles, CA, November 2015

2. LeFauve S, DiGiorgi M. Feasibility and efficacy of obesity management in a primary care setting: Observations from
   real-life application. The Obesity Society, Los Angeles, CA, November 2015

3. DiGiorgi M, Sangal M, Abecassis T, Restuccia N, Harvey E, Schrope B, Bagloo M, Bessler M. Food Addiction and Long
   Term Weight Loss Outcomes Following Bariatric Surgery. The Obesity Society, Atlanta, GA, November 2013

4. DiGiorgi M, Bagloo M, Schrope B, Restuccia N, Harvey E, Bessler M. Factors Associated with Long Term Weight
   Regain after Bariatric Surgery. American Society of Metabolic and Bariatric Surgery, Atlanta, GA, November 2013

5. Bagloo M, DiGiorgi M, Schrope B, Silva M, Ude A, Roth A, Abecassis T, Sangal M, Bessler M, Zitsman J. One Year
   Outcomes of Sleeve Gastrectomy in Pediatric versus Adult Patients. American Society of Metabolic and Bariatric
   Surgery, Atlanta, GA, November 2013

6. Bagloo M, Schrope B, Ude A, DiGiorgi M, DeCesare L, Yang S, Harari A, Bessler M. Chronic Debilitating
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   Surgery, Atlanta, GA, November 2013

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   Perugini RA, Zivny J. Preliminary Results of a Randomized, Blinded, Sham-Controlled Trial of Transoral Gastroplasty
   for the Treatment of Morbid Obesity. Gastroenterology. 142 (5): Page S-78. May 2012

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   adolescents undergoing laparoscopic adjustable gastric banding (LAGB). International Pediatric Endosurgery Group,
   San Diego, CA, March 2012

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   Private Insurance Following Gastric Bypass Surgery. American Society of Bariatric Surgery, Orlando, FL, June 2011

10. DiGiorgi M, Mull L, Restuccia N, Bagloo M, Schrope B, Bessler M. Factors associated with weight regain after gastric
    bypass. American Society for Bariatric Surgery, Orlando, FL, June 2011

11. Choi, JJ, DiGiorgi M, Taylor P,Daud A, Bessler M. Prospective randomized trial of banded versus non-banded gastric
    bypass for the super obese: five-year outcomes. American Society for Bariatric Surgery, Las Vegas, NV, June 2010
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12. Zitsman J, DiGiorgi M, Marr JR, Witt MA, Bessler M. Comparative outcomes of laparoscopic adjustable gastric
    banding (LAGB) in adolescents and adults. American Society for Bariatric Surgery, Las Vegas, NV, June 2010

13. Bagloo M, Purohit M, DiGiorgi M, Ude A, Schrope B, Bessler M. Conversion to gastric bypass after failed lap band
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14. DiGiorgi M, Rosen DJ, Choi J, Milone L, Schrope B, Olivero-Rivera L, Restuccia N, Urban-Skuro MC, Inabnet WB,
    Bessler M. Reemergence of Diabetes After Gastric Bypass in Patients with Mid to Long-Term Follow-Up. American
    Society for Bariatric Surgery, Grapevine, TX, June 2009

15. Choi J, Digiorgi M, Milone L, Schrope B, Olivera-Rivera L, Daud A, Davis D, Bessler M. Outcomes of laparoscopic
    adjustable gastric banding in patients with low body mass index. American Society for Bariatric Surgery, Grapevine,
    TX, June 2009

16. Schrope B, Allendorf J, DiNorcia J, Bill A, DiGiorgi M, Chabot J. A Single-Institution Retrospective Review of
    Laparoscopic and Open Distal Pancreatectomies. Society for American Gastrointestinal Endoscopic Surgeons, Las
    Vegas NV, April 2007.

17. DiGiorgi M, Daud A, Inabnet WB, Urban-Skuro M, Restuccia N, Bessler M. Markers of Bone and Calcium Metabolism
    and Effectiveness of Supplementation Following Gastric Bypass and Laparoscopic Adjustable Gastric Banding.
    American Society for Bariatric Surgery, San Francisco CA, June 2006.

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    Loss Surgery. American Society for Bariatric Surgery, San Francisco CA, June 2006.

19. Bessler M, Daud A, Olivero-Rivera L, DiGiorgi M. Prospective randomized double blinded trial of banded versus
    standard gastric bypass for weight loss in patients with malignant obesity. American Society for Bariatric Surgery,
    San Francisco CA, June 2006.

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    for primary hyperparathyroidism. American Association of Endocrine Surgeons, Annual Meeting, Poster Session,
    New York NY, May 2006.

21. Inabnet WB, Shifrin A, DiGiorgi M, Allendorf J, Chabot J. Persistently elevated PTH levels during focused
    parathyroidectomy; do the predict failure or cure? American Association of Endocrine Surgeons, Annual Meeting,
    Poster Session, New York NY, May 2006.

22. Fisher J, Spanknebel K, McConnell R, Assaad A, Cheung K, DiGiorgi M, Stolar C. Initial presentation and determinants
    of disease recurrence in a pediatric population with differentiated thyroid carcinoma: A single-institution report.
    New York Surgical Society, Fall Scientific Session, New York NY, November 2005.

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    Experience at a tertiary referral center. American Thyroid Association, 13th International Thyroid Congress, Buenos
    Aires, Argentina, November 2005.

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    local or conventional general anesthesia: An analysis of outpatient surgery, outcome and cost in 1,194 consecutive
    cases. International Association of Endocrine Surgeons, International Surgical Week, 41st World Congress, Durban,
    South Africa, August 2005.

25. Daud A, Inabnet WB, DiGiorgi M, Olivero-Rivera L, Schrope B, Davis D, Bessler M. Effect of Bariatric Surgery in
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26. Restuccia N, Daud A, Olivero-Rivera L, DiGiorgi M, Urban-Skuro M, Schrope B, Inabnet WB, Bessler M, Effect of meal
    frequency on weight loss after bariatric surgery. American Society for Bariatric Surgery, Orlando FL, June 2005.

27. Kim T, Daud A, Ude AO, DiGiorgi M, Olivero-Rivera L, Schrope B, Davis D, Inabnet WB, Bessler M. Early U.S outcomes
    of Laparoscopic Gastric Bypass versus Adjustable Silicone Gastric Banding for Treatment of morbid obesity. Society
    of American Gastrointestinal Endoscopic Surgeons, April 2005.

28. Spanknebel K, Chabot JA, Allendorf JA, DiGiorgi M, LoGerfo P, Inabnet WB. A comparative analysis of focused
    parathyroidectomy verses bilateral neck exploration for the treatment of primary hyperparathyroidism. New York
    Surgical Society Winter Scientific Session, New York NY, February 2005.

29. Spanknebel K, McConnell RJ, Chabot JA, DiGiorgi M, Inabnet WB, LoGerfo P. Thyroidectomy for Graves' disease: A
    14-year experience in a single surgical practice. American Thyroid Association 76thAnnual Meeting, 2004.

30. Bessler M, Daud A, Olivero-Rivera L and DiGiorgi M. Prospective randomized double blinded trial of banded versus
    standard gastric bypass for weight loss in patients with malignant obesity-preliminary results. American Society for
    Bariatric Surgery, San Diego CA, June 2004.

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    outcome of laparoscopic adjustable silicone gastric banding. American Society for Bariatric Surgery, San Diego CA,
    June 2004.

32. Lew J, Daud A, DiGiorgi M , Davis D and Bessler M. Routine preoperative esophageal manometry does not predict
    outcome of laparoscopic adjustable silicone gastric banding. Society of American Gastrointestinal Endoscopic
    Surgeons, Denver CO, April 2004.

33. Lew J, Daud A, DiGiorgi M, Davis D and Bessler M. Early U.S outcomes of Laparoscopic Gastric Bypass versus
    Adjustable Silicone Gastric Banding For treatment of morbid obesity. New York Surgical Society, New York NY,
    November 2003.

34. Spanknebel K, DiGiorgi M, LoGerfo P. Thyroidectomy using local anesthesia: A report of 875 cases over 15 years.
    American College of Surgeons, 89th Annual Clinical Congress, General Papers Session, Chicago IL, October 2003.

35. DiGiorgi M, Daud A, Bessler M. Characteristics and early outcomes of gastric bypass versus Lap-Band for morbid
    Obesity. American Society for Bariatric Surgery, Boston MA, June 2003.
